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         Federal Trade Commission v. American Financial Support Services Inc., et al.

                    U.S. District Court for the Central District of California
                              Case No. 8:19-cv-02109-JVS-ADS

                             Furniture and Equipment Inventory
                         1261 E. Dyer Road, Suites 100, 200 and 250
                                    Santa Ana, CA 92705

                                           Suite 100
                        Item                                            Quantity
               Asian Art Sculptures                                        11
                       Camera                                               1
  Cannabis products, prescription drugs and shrooms                       100
                   Cash Register                                             1
                   Coffee Table                                              1
                    Computers                                              135
                 Conference Table                                            1
                       Couch                                                 3
         Cubicles with desk and file cabinet                                74
                       Desk                                                  6
                    Desk Chairs                                             77
                   Display Shelf                                             1
                   File Cabinets                                             7
                  Folding Tables                                             4
                       Futon                                                 3
                       Guitar                                                1
                        Gun                                                  1
                     Headsets                                               64
                      Keurig                                                 1
                     Keyboard                                              102
                      Ladders                                                2
                  Leather Chairs                                             5
                    Microwave                                                2
                    Mini Fridge                                              1
                  Money Counter                                              1
                     Monitors                                              220
                   Printer/copier                                            6
                      Recliner                                               1
                    Refrigerator                                             1
                   Round Tables                                              5




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                     Router                                1
                    Shredder                               1
                   Side Tables                             1
                 Stacking Chair                           17
                 Storage cabinet                           2
                   Televisions                             9
                     Toaster                               2
                Vending Machines                           3


                                         Suite 200
                      Item                              Quantity
                   Computers                              34
       Cubicles with desk and filing cabinet              40
                   Desk Chairs                            40
                    Headsets                              34
                    Keyboard                              36
                   Microwave                               1
                    Monitors                              79
                  Printer/copier                           3
                   Refrigerator                            1
                    Shredder                               1


                                         Suite 250
                      Item                              Quantity
                      Chairs                              47
                  Coffee makers                            3
                   Computers                              36
                      Desk                                39
                  File Cabinets                           19
                     Headset                              28
                   Keyboards                              40
                   Microwave                               2
                   Mini Fridge                             1
                    Monitors                              85
                  Printer/copier                           3
                   Refrigerator                            1
                     Router                                1
                     Tables                                2
                    Television                             2
                     Toaster                               1




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        Federal Trade Commission v. American Financial Support Services Inc., et al.

                   U.S. District Court for the Central District of California
                             Case No. 8:19-cv-02109-JVS-ADS

                             Furniture and Equipment Inventory
                               5772 Bolsa Avenue, Suite 220
                               Huntington Beach, CA 92649

                   Item                                             Quantity
                Bookcase                                               1
          Camera/Security system                                       1
              Coffee maker                                             1
               Computers                                              28
                  Couch                                                1
           Cubicles with desks                                        28
                   Desk                                                5
               Desk Chairs                                            43
              Fax machine                                              1
               File Cabinet                                            2
             Folding Tables                                            1
                Keyboards                                             19
             Lounge Chairs                                             1
                 Loveseat                                              1
               Microwave                                               1
                 Monitors                                             42
                  Printer                                              4
               Refrigerator                                            1
                 Shredder                                              1
                Side Table                                             1
             Stacking Chairs                                           4
                  Table                                                2
               Televisions                                             3
              Water cooler                                             1
              White Boards                                             2




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        Federal Trade Commission v. American Financial Support Services Inc., et al.

                   U.S. District Court for the Central District of California
                             Case No. 8:19-cv-02109-JVS-ADS

                             Furniture and Equipment Inventory
                             18001 Sky Park Circle, Suites L-M
                                      Irvine, CA 92614

                    Item                                            Quantity
                   Chairs                                             54
               Coffee Maker                                            3
                Computers                                             13
                    Desk                                              15
                File Cabinet                                           1
                Headphones                                             9
                 Keyboards                                            35
               Leather Chairs                                          3
                Metal Chair                                            2
                Microwave                                              1
                  Monitors                                            44
                   Printer                                             5
                Refrigerator                                           2
                  Shredder                                             1
                 Side Table                                            3
                    Table                                              6
                   Toaster                                             1
                  Vacuum                                               1
                White Board                                            5




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                                                                   500 Ygnacio Valley Road, Suite 430
                                                                        Walnut Creek, CA 94596




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        Federal Trade Commission v. American Financial Support Services Inc., et al.

                   U.S. District Court for the Central District of California
                             Case No. 8:19-cv-02109-JVS-ADS

                             Furniture and Equipment Inventory
                            500 Ygnacio Valley Road, Suite 430
                                 Walnut Creek, CA 94596

                    Item                                            Quantity
               Apple Monitor                                           1
                   Chairs                                             18
                 Computer                                              5
                   Couch                                               3
                    Desk                                              11
               Display shelf                                           1
               File Cabinets                                           8
               Leather Chair                                           1
                Mini Fridge                                            1
              Postage Machine                                          1
               Printer/copier                                          4
                  Recliner                                             1
                Refrigerator                                           1
                Rolling Cart                                           1
                   Servers                                             5
               Shelving unit                                           2
                  Shredder                                             1
                    Table                                              2
                 Television                                            2
                Wall Hutch                                             2
              Water Dispenser                                          1




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       [5/1/19, 7:54:25 AM] Ruddy Palacios: Need to cut off SL affiliates today if possible
       [5/1/19, 8:41:17 AM] Carey Howe: How exactly? Sye or 1file has to take them
       [5/1/19, 8:42:07 AM] Ruddy Palacios: However us 5 decide today. But it has to be done
       [5/1/19, 8:44:29 AM] Ruddy Palacios: We gave up 300k a month because of liability
       with SL on a $100 CPA but then we are still taking liability daily by enrolling files for
       other companies to earn pennies
       [5/1/19, 8:45:34 AM] Carey Howe: I get it......just how we execute is the question




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                            EXHIBIT 4
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From:                         Jacqueline Nguyen
Sent:                         Tuesday, August 20, 2019 12:29 PM
To:                           Cindy Phu; Lan Tran; Processing Dept
Subject:                      RE: bbb and google reviews


So what happened did his company get shut down or what? Technically they cant do anything to us right? We don’t
have physical address only PO box and old sky park address lol.

From: Cindy Phu
Sent: Tuesday, August 20, 2019 11:14 AM
To: Lan Tran <lan.tran@premiersolutionsservicing.com>; Processing Dept <process@premiersolutionsservicing.com>
Subject: RE: bbb and google reviews

ok

From: Lan Tran
Sent: Tuesday, August 20, 2019 11:05 AM
To: Processing Dept <process@premiersolutionsservicing.com>
Subject: bbb and google reviews


Hey guys, FYI.. if a client post a review on the BBB or google then
they get $5 off on their next MSF. But we must be able to see it on
the website and not just take their word for it. Also due to the
CFPB cracking down on all these student loan companies, if a
client wants a refund then don’t tell them that they won’t get it.
Just forward it to me and I will take care of it. We will at least
always give them a partial refund. We want to avoid any
complaints and do not need any attention on PSS. Sy’s company
just got a letter from the CFPB.
                                    Lan Tran Manager
                                    Processing Department
                                    Phone: 1-888-511-2518 ext. 106
                                    Fax: 1-888-519-8402
                                    Direct / Fax / Text: 1-949-346-9887
                                    Mail: PO Box 26830, Santa Ana, Ca 92799


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know by e-mail reply and delete it from your system; you may not copy this message or disclose its contents to anyone. Please send us by fax any message containing
deadlines as incoming e-mails are not screened for response deadlines. The integrity and security of this message cannot be guaranteed on the Internet



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  From:            Viviana Lim
  To:              Lan Tran; Cindy Phu; Jacqueline Nguyen
  Subject:         FW: Processing
  Date:            Wednesday, June 26, 2019 3:06:30 PM
  Attachments:     image003.png



                   King –                  6949

  I believe it was in reference to this file. Christina Cortina or whatever seemed to be
  offended that I asked if she asked for POI., everything is in the notes, he sent this
  email afterwards. Forwarding it to keep everyone in the loop.




  From: Mark Ramirez
  Sent: Wednesday, June 26, 2019 10:28 AM
  To: Andy Vizcarra <andyv@aretefin.com>; Christina Cortina <ccortina@aretefin.com>; Krysta
  McKinney <krystam@aretefin.com>; Mark Ramirez <mramirez@aretefin.com>; Monique Harrison
  <mharrison@aretefin.com>
  Cc: Branden Millstone <bmillstone@spfin.com>; Viviana Lim
  <viviana.lim@premiersolutionsservicing.com>
  Subject: Processing

  Hello Everyone,

  I just once again want everyone to be aware that since we are now Premier Solutions
  Servicing that we will also see a few new processing procedures. I can assure you that
  even though there will be some additional steps and stipulations required from both us and
  our clients, they are in place to increase the clients success in their program and to insure
  they are properly enrolled and qualitied for the services we are providing. Having said this
  please be patient as we all need to work together to get acquainted with these changes. I
  will be in direct contact with Vivian and will keep you updated on any new changes we need
  to make.

  If you have questions please ask me. Thank you




  Mark Ramirez
  Director of Student Loans
  Mramirez@studentlp.com
  8am – 5pm PST
  Toll-free      833-204-2684 x 0892
  Direct         949-732-0892
  Fax            949-222-9073


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  Processing 888-511-2518 x 2
                                                                           |




  https://www.bbb.org/us/ca/irvine/profile/debt-consolidation-services/premier-solutions-servicing-1126-
  172012700/accreditation-information
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  From:            PSS INFO
  To:                          @yahoo.com"
  Subject:         Student Loan Forgiveness
  Date:            Friday, July 26, 2019 3:20:00 PM
  Attachments:     image001.png


  Hello,
  How are you? My name is Viviana. I am one of the student loan advisers here at Premier Solutions
  Servicing. We are Arete Financial Freedom's sister company. They informed me that you had some
  questions in regards to the Student Loan Forgiveness Program? Please advise if you are still
  interested in the program. We will be more than happy to assist you. If you are, please complete the
  form that was sent to you in a separate email that is requesting your information. This is used to see
  exactly where your loans are at and what is the most beneficial program that you will qualify for.
  Please also advise the best date and time to reach you. Thank you and I hope you have a great day!




  Best Regards,
  Viviana L.
  Processing Department




  Toll Free: 1-888-511-2518 ext. 153
  Direct/Text: 1-949-535-2907
  Fax: 1-888-519-8402
  Email: Viviana.Lim@premiersolutionsservicing.com


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  From:            slprocessing@aretefinancialfreedom.com
  To:                       Adams"
  Subject:         RE:         Adams updated income
  Date:            Saturday, October 26, 2019 10:47:00 AM




  Hi
  This is Diana , I submitted with tax return 2017, because it shows lower income, and hopefully they
  will approve it and you get the lowest payment , if I need additional documents I will contact you. I
  will call you to update your regarding the application after it is processed
  Thank you
  From:           Adams
  Sent: Friday, October 18, 2019 3:17 PM
  To: info@aretefinancialfreedom.com
  Subject:           Adams updated income

  Today I spoke with Diana Younis to confirm that I needed to submit paperwork to re certify my IDR
  student loan repayment plan. My last 2 pay stubs are attached.




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                     DebtPayPro Database – Summary of Customer
                       Fee Collections for Student Loan Services
                           April 1, 2019 – November 6, 2019

                                              Premier                   Student
          Company               Arete                          1File
                                             Solutions                 Loan Pro1

      Cleared Payments      $2,447,549.66 $489,708.47 $2,563,131.19        -

            Total                                $5,500,389.32




 1
     Data is not yet available for StudentLoanPro customers.



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From:                 processing@1file.org
Sent:                 Thursday, October 03, 2019 2:10 PM
To:                                          '
Subject:              RE:                            - Eligibility Confirmation


As of right now we don’t need anything else we will let you know if anything changes

From:
Sent: Thursday, October 03, 2019 10:06 AM
To: processing@1file.org
Subject: Re:                           ‐ Eligibility Confirmation

Do you need anything else from me. Making sure that all documents have been submitted and I know you all received
the payment to get everything started.

Thanks

On Wednesday, August 14, 2019, 05:00:30 PM CDT, <processing@1file.org> wrote:


                                                    To help protect y our priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




                                                                                          Toll Free 844-593-8072

                                            BORROWER ELIGIBILITY CONFIRMATION

                                                                                                                                                                             Date: Aug 14, 2019




To:




Client ID : CBCC-341590040                                                                                                                                                   SSN:
                                                                                                                                                                             DOB:




           You are confirmed for the following government program, Revised Pay As You Earn (REPAYE) REPAYMENT.




This Federal Program introduced by the Obama Administration is intended to help stabilize the 1.2 Trillion dollar student loan epidemic
                   and help struggling students achieve income based payments get relief and avoid DEFAULT.

                                                                                                                                                                         1
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Total Enrolled Debt: 67,532.00

Based on AGI: 32000

Included Loans:


Creditor                                                                 Account #                             Amount Owed
DIRECT CONSOLIDATED UNSUBSIDIZED                                                         8102,                 $0.00
DIRECT CONSOLIDATED SUBSIDIZED                                           1               8102,                 $0.00
FFEL STAFFORD UNSUBSIDIZED                                               ,                                     $23,809.00
FFEL STAFFORD UNSUBSIDIZED                                               ,                                     $7,754.00
FFEL STAFFORD SUBSIDIZED                                                 ,                                     $6,220.00
FFEL STAFFORD UNSUBSIDIZED                                               ,                                     $2,750.00
FFEL STAFFORD SUBSIDIZED                                                 ,                                     $4,406.00
FFEL STAFFORD SUBSIDIZED                                                 ,                                     $1,243.00
FFEL STAFFORD SUBSIDIZED                                                 ,                                     $7,571.00
FFEL STAFFORD SUBSIDIZED                                                 ,                                     $1,873.00
FFEL STAFFORD SUBSIDIZED                                                 ,                                     $6,381.00
FFEL STAFFORD SUBSIDIZED                                                 ,                                     $5,525.00
DIRECT STAFFORD SUBSIDIZED                                                               5002,                 $0.00
                                                                                                               $67,532.00



Approved Program: Revised Pay As You Earn (REPAYE)

Program Maturity Savings: $62,431.00




The William D. Ford Direct Loan program is an initiative by the federal government to help subsidize the 1.2 trillion-dollar student loan
debt in the U.S. Borrowers under these income based programs significantly reduce their payments and eventually even reach
possible forgiveness based off of eligibility requirements.




The process from beginning to end takes approximately 21-45 days.

In order to stay compliant in your program you must maintain the following:

        Submit required income documentation to processing within 5 business days of enrollment.
        Send updated documents to the processing department in a timely manner (i.e., paystubs, tax returns, paperwork
         correspondence, lender correspondence, etc...).

        Maintain program management costs and monthly payments.

                                                     Customer Service Department

                                                         Toll Free 844-593-8072


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  CONFIDENTIAL INFORMATION, PRIVILEGED OR OTHERWISE LEGALLY PROTECTED FROM UNAUTHORIZED DISCLOSURE. IF YOU ARE NOT THE INTENDED
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                         NOTIFY SENDER IF YOU HAVE RECEIVED THIS E-MAIL IN ERROR AND DELETE IT FROM YOUR E-MAILS




                                                                  3
                                                                                                                    EXHIBIT 9
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                                   #:3128




                           EXHIBIT 10
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                                                 #:3129




                                                             SERVICE AGREEMENT

This service agreement (“Agreement”) is made and entered into this 23rd day of January, 2019, by and between American Financial Support
Services (“American Financial Support Services”), and              GRAY hereinafter referred to as ("Client"), whose address is
                           FL 32114, with reference to the following.

                                                                    RECITALS

     A. American Financial Support Services provides document processing services to individuals with federal student loans who are seeking
     to consolidate the existing loans through programs offered by the Department of Education (“Federal Student Loan Consolidation”) and/or
     restructure the current payment to a new ("Income-Driven Repayment");

     B. Client requests American Financial Support Services perform the services outlined below to assist them in submitting a new loan
     application to the Department of Education (”DOE”);

     C. In consideration of the foregoing covenants and conditions set forth, below, American Financial Support Services and Client do hereby
     agree to the following:

1. Client Loan Service Definition.

American Financial Support Services provides document processing and support services to Clients applying for a Federal Student Loan
Consolidation with the DOE. American Financial Support Services will provide (a) a review of the Client’s current financial situation; (b) analyze
and review available Federal Student Loan Consolidation programs offered by the DOE based on Client’s current financial situation; (c)
following Client’s selection of a program, compile information and submit on the Client’s behalf a Federal Student Loan Consolidation
application with the DOE (the “Services”).

2. Nature of Service; No Legal or Tax Advice.

American Financial Support Services is a private company not affiliated with any government agency. Client acknowledges that the programs
that Clients is seeking are available without cost to Client. The Client acknowledges that American Financial Support Services is not a law firm,
and that no legal or tax advice can or will be provided under this agreement. Client acknowledges and agrees that the Services do not consist
of any renegotiation, restructure, reduction or other adjustment of the terms of any existing loan or debt.

3. Rehabilitation; Garnishment.

If any of the Client’s existing federal student loans are in default and/or the Client is being garnished by any lender, American Financial
Support Services will provide Client the option of rehabilitating said loans. Once the rehabilitation process is completed, American Financial
Support Services will consolidate the Client’s federal student loans through the DOE. The rehabilitation of a loan in default will require an
additional fee.

4. Fees.

Client agrees to pay American Financial Support Services a Service fee of $799.00 for providing the Services. In addition Client agrees to pay
American Financial Support Services a Monthly Maintenance fee of: $39.00. The Service fee will only be earned after Client is approved for a
program through DOE. If Client’s Federal Student Loan application is not approved for a program through DOE, American Financial Support
Services will reimburse 100% of all Clients' fees collected. Client also understands that a third party payment processing company will be
pulling the Client’s Service fee and Monthly Maintenance fee payments.

5. Refund.

Client understands that American Financial Support Services is a document processing company and cannot guarantee a payment or loan
terms quoted by the DOE website. However, American Financial Support Services guarantees that Client will receive a Federal Student Loan
Consolidation, or a repayment plan using current lenders, through the DOE subject to the following conditions: (1) Client’s existing loans are
original debts, and have not been previously consolidated or restructured (2) Client fully cooperates with American Financial Support Services
providing all information requested by American Financial Support Services and DOE in a timely manner as deemed by American Financial
Support Services and that such information is complete and accurate; and (3) Client’s loan application is not disqualified by the DOE due to
issue or characteristic related to Client. All refund requests must be made within 30 days of any loan application denial by the DOE. American
Financial Support Services will reimburse 100% of the Service fee paid by Client.                                      EXHIBIT 10
                                                                                                                           Page 24
6. Process.
Following receipt of all necessary information from Client and the first payment has been made, the Services will commence. American
Financial Support
               CaseServices  relies on the applicable lender(s)
                      8:19-cv-02109-JVS-ADS                     and American
                                                          Document     57-2 Financial   Support Services
                                                                                Filed 11/14/19      Page cannot
                                                                                                           37 ofbe 108
                                                                                                                   held liable
                                                                                                                           Pagefor delayed
                                                                                                                                   ID
completion due to delays in obtaining information or approvals from #:3130
                                                                      third parties or the DOE. The average completion time to process a
Federal Student Loan Consolidation through American Financial Support Services is approximately ninety (90) days, unless a rehabilitation is
required for the Client, or a forbearance plan is necessary.

7. Client Warranty.

Client expressly represents and warrants that they will provide American Financial Support Services with information that is complete and
accurate to the best of their knowledge. American Financial Support Services is under no obligation to independently verify the information
provided by Client.

8. Client Authorization.

I hereby authorize American Financial Support Services to verify my present employment earning records, bank accounts, and any other
asset balances that are needed to process my Federal Student Loan Consolidation application. I further authorize American Financial Support
Services to order a consumer credit report and verify other credit information, including past and present lender and landlord reporting. It is
understood that a copy of this Agreement will also serve as authorization. The information American Financial Support Services obtains is to be
used solely in the processing of Client’s application for a Federal Student Loan Consolidation.

9. Arbitration and Choice of Law.

This Agreement shall be governed by the laws of the State of California. In the event of any controversy, claim, or dispute between the
parties arising out of, or relating to this Agreement, the parties agree to resolve all issues solely through the use of binding arbitration with the
American Arbitration Association ("AAA"). The arbitration shall take place in Orange County, California or in the closet metropolitan area to the
residence of the Client. There shall be a single arbitrator selected by the parties. The arbitrator shall have the sole authority to resolve any
dispute relating to the interpretation, applicability, enforceability, conscionability or formation of this Agreement. The award rendered by the
Arbitrator shall be final and binding on all parties. The award made by the arbitrator may be entered into any court having jurisdiction over the
parties. The parties further agree that either party may bring claims against the other only in their individual capacity and not as a plaintiff or
class member in any purported class action or representative proceeding. Further, the parties agree that the arbitrator may not consolidate
proceedings of more than one person's claims, and may not otherwise preside over any form of representative or class proceeding. The
parties shall share the cost of Arbitration, including attorneys' fees, equally, except as provided by AAA for consumer actions.

10. Indemnification.

Client hereby agrees to defend and hold harmless American Financial Support Services from and against any liable of any nature whatsoever
arising out of, or in connection with, Client’s breach of this Agreement, or arising from any incomplete or inaccurate information provided by
Client.

11. Termination of Agreement.

Client may cancel this contract any time with written notice to American Financial Support Services prior to being approved for Federal Student
Loan Consolidation. Any fees paid to American Financial Support Services at time of cancellation shall be deemed earned as long as American
Financial Support Services has acted in good faith in performing services on behalf of Client. American Financial Support Services may
terminate this Agreement upon a breach by Client of this Agreement by providing written notice to Client.

12. Entire Agreement.

This Agreement embodies the entire understanding and agreement between the parties and all previous understandings, representatives,
statements, undertakings and agreements, written or oral, are canceled, withdrawn, and/or have merged into this Agreement. This Agreement
may not be amended except by writing, signed by both parties hereto, after the date of this Agreement.

13. Legal Authorization Form.

This form will serve to acknowledge that the below Client has authorized our company, American Financial Support Services (American
Financial Support Services), to act on their behalf to consolidate their Federal Student Loans in accordance with the DOE. Client has been
advised that once approved for the Federal Student Loan Consolidation, the Client will receive a sixty (60) day furlough before payments will
start. If you have any questions regarding this Federal Student Loan Consolidation Program, please contact your Client Loan Consolidation
Specialist at (844) 593-8072.



               GRAY                                                                        {SIGNATURE}
NAME                                                                                       SIGN


 {SIGNDATE}
                                                                                                                           EXHIBIT 10
DATE                                                                                       SSN                               Page 25
Privacy Policy
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We are committed to providing the highest level of security and privacy regarding the collection and use of your personal information.
                                                                    #:3131
Personal information may be collected from your account Application, any updated information you may provide us from time to time and the
banking transactions processed through your Account. A description of our Privacy Policy is provided below. If you have additional questions
regarding the privacy of your personal information, please contact customer service at the address shown above.

Collection / Use of Personal Information: Our collection of your personal information is designed to protect access to your Account; and to
assist us in providing you with the products and services you want and need. All personal information collected and stored by us, or on our
behalf, is used for specific business purposes to protect and administer your Account and transactions; to comply with state and federal
regulations; and to help us better understand your needs in order to design or improve our products and services. Furthermore, auditing
mechanisms have been put into place to further protect your information by identifying the personnel who may have accessed and in any way
modified OR OTHERWISE CHANGED your personal information. The personal information we collect about you comes from the following
sources: Information we receive from you such as: your name, address, and telephone number, or other information that you provide to us
over the phone, in documents, or in applications. Notwithstanding information about your transactions; such as: account balances with
creditors, payment histories, account activity, and all other information that may be contained in your credit card statements and other reports
relating to your debt; including, information we receive from consumer reporting agencies, credit bureau reports, collection agency reports;
information relating to payment histories, creditworthiness, annual income, and your ability to satisfy obligations. In the future, we may pull
your individual credit report.

Maintenance of Accurate Information: It is in the best interest of both you and American Financial Support Services to maintain accurate
records. If you have questions regarding the accuracy of your personal information please contact American Financial Support Services
Customer Service.

Limited Access to Personal Information: We limit access to your personal information to only personnel with a business need to know. We
educate our representatives about the importance of confidentiality and customer privacy. In addition, individual user names and passwords
are used by only approved personnel to restrict access, and further safeguard the privacy of your personnel information. You can help
maintain the security of any online transactions by not sharing your personal information or password with anyone. Remember, no method of
transmission over the Internet, or electronic storing of information is 100% secure.

Third-Party Disclosure Restrictions: We follow strict privacy procedures in regard to protecting your personal information. In addition, we
require all third parties with a business need to access this information to adhere to equally stringent privacy policies. Personal information
may be supplied to a third party in order to process a transaction you have authorized; or, if the disclosure is required or allowed by law (i.e.
exchange of information with reputable reporting agencies, subpoena, or the investigation of fraudulent activity, etc.). We prohibit the sale or
transfer of personal information to non-affiliated entities for their use without giving you the opportunity to opt-out. We may disclose such
information in order to effectively or carry out any transaction that you have requested of us; or as necessary to complete our contractual
obligations with you. We may also share your information with service providers that perform business operations for us; companies that act
on our behalf to market our services; or others, only as permitted or required by law, such as to protect against fraud or in response to a
subpoena. We may also share or transfer our information in the event we transfer or sell your account or our business assets to another
provider. In administering our services while servicing your account, we may disclose your information, as needed, and as permitted by law, to
your creditors, credit card companies, collection agencies, banks, other entities, and individuals.

Disclosure of Privacy Policies: We are committed to ensuring the privacy of your personal information. For more information regarding our
Privacy Policy, please contact customer service.

Your Choices/Opt-out: Where possible, we provide you the opportunity to 'opt-out' of having personal information shared. By providing
information to American Financial Support Services you are consenting to the collection, use, and disclosure of personal information in the
manner described in this privacy policy. This Policy applies to current and former customers. The consent to withdraw may be achieved by
calling the telephone number provided below, or sending written/email to our customer service at:

7901 Stoneridge Dr. Ste 504, Pleasanton, CA 94588 - (844) 593-8072

Email address: processing@americanfss.org

              GRAY                                                                      {SIGNATURE}
     NAME                                                                                   SIGN


 {SIGNDATE}
     DATE




                                                                                                                       EXHIBIT 10
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                                                 #:3132




                                                        Limited Scope Power of Attorney

       THIS LIMITED POWER OF ATTORNEY IS ONLY FOR THE PROCESS, ACCESS, COMMUNICATION, AND ACTIONS RELATED TO
       STUDENT LOANS ASSOCIATED WITH THE DEPARTMENT OF EDUCATION (“DOE”) AND CLIENT,          GRAY (“GRANTOR”).
       THIS LIMITED POWER OF ATTORNEY MAY BE REVOKED BY YOU THE GRANTOR AT ANY TIME BY WRITTEN NOTICE.

       I,              GRAY, Social Security #              , residing at                                    FL 32114,                  FL
       32114, this date, Jan 23, 2019, hereby appoints American Financial Support Services as my ATTORNEY-IN-FACT to perform on my
       behalf as indicated below. With this signature,               GRAY authorizes American Financial Support Services to act on my behalf
       with the DOE in all matters regarding my student loan, including but not limited to,




1.      Access my account with the DOE, including taking steps and providing information necessary to access the account.

2.      Communicate with the DOE related to my account and any forbearance, deferment and/or student loan consolidation.

3.      Drafting and, following my execution, submitting an application to the DOE.

4.      Engaging sub-contractors as may be appropriate to perform the services.



American Financial Support Services has full authority to represent me,                  GRAY, to perform the services outlined in the Service
Agreement.



This Limited Power of Attorney will remain in effect as of the effective date of the contract, and will remain in full force and effect until:



1.      It is revoked, suspended or terminated in writing by the GRANTOR; or

2.      The contract is terminated for any reason, whichever is earlier to occur.

7901 Stoneridge Dr, Ste 504, Pleasanton, CA 94588 - (844) 593-8072

               GRAY                                                                       {SIGNATURE}
     NAME                                                                                      SIGN


 {SIGNDATE}
     DATE




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                                   #:3133




                                                      L GRAY




                                                         FL                             32114

             0889                                              @yahoo.com

                                                                                                995




                                1FILE.ORG

                    5772 BOLSA AVE. STE B220

      HUNTINGTON BEACH                                   CA                             92649

       844 593-8072                                                3rd Party Organization




      {SIGNDATE}                               {SIGNATURE}




                                                                                                EXHIBIT 10
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                                   #:3134




         GRAY



                                                          --

                           FL 32114




1FILE.ORG, 5772 Bolsa Ave Suite 220, Huntington Beach, CA 92649




                   1040




                                  12   31   14       12        31     15         12   31   16




     {SIGNATURE}                                                    {SIGNDATE}




       {COSIGNATURE}                                                {SIGNDATE}



                                                                                                EXHIBIT 10
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                                                  #:3135



                                                        Credit Card Authorization Form

I                GRAY, authorize 1FILE.ORG to charge my credit card *****5078 For the total of $799.00 on the dates listed below              2090.

Jan 31, 2019                     $266.33            {INITIAL}
Feb 28, 2019                     $266.33            {INITIAL}
Mar 29, 2019                     $266.34            {INITIAL}

Additionally, I authorize 1FILE.ORG to charge a Monthly Maintenance Fee of 39.00 on the 31st of every month thereafter until loan obligations
have been fulfilled. {INITIAL}

Your method of payment is as follows:

Credit Card Number: Visa                 Name On Credit Card:                  GRAY
Credit Card Number: *****5078            Expiration Date: 03/2021                          Security Code - 3 digits on Back of Card:

Billing Address of Credit Card:

                                       FL 32114

Contact Numbers:

Home Phone:             -0889
Cell Phone:

Amount due $799.00 Contract #295232090

    5772 Bolsa Ave. Suite 220, Huntington Beach, CA 92649 - (844) 593-8072

    {SIGNATURE}
Signature
    {SIGNDATE}
Date




                                                                                                 CUSTODIAL ACCOUNT AGREEMENT
                                                                                                                                            Ver 12/03/2015



Client enters into this Agreement (Agreement) with Payment Automation Network, Inc. (PAN) for having PAN receive payments, make
disbursements authorized by Client upon Client’s instructions and/or the occurrence of specified events, and provide online transaction
management and accounting information on Client’s behalf (together, the “Services”).

Client authorizes PAN to (i) collect (debit) funds via ACH from Client’s designated financial institution (Designated Account) pursuant to the
Payment Schedule attached hereto (“Payment Schedule”); (ii) deposit such funds in a non-interest bearing FDIC custodial account (“Custodial
Account”); and (iii) disburse funds from the Custodial Account as directed by the payment schedule and/or by client solely upon receipt of
authorized instructions from Client, provided the balance in the Depository Account equals or exceeds the disbursement request. If the balance
of the Custodian Account is less than a requested disbursement, the disbursement direction will not be honored until the balance is increased to
the desired amount.

Client agrees to pay PAN’s fees and charges shown below and such fees and charges may be deducted directly from the Custodial Account.

Client agrees PAN will select the financial institution that will hold the Custodial Account. Client agrees that PAN may, at its sole discretion and
upon written notification to Client, change the financial institution that will hold the Custodial Account at any time, and EXHIBIT
                                                                                                                            that the10
                                                                                                                                     Custodian
                                                                                                                              Page 30 will not be
Account may be in California or any other state selected by PAN in its sole discretion. Client agrees that the Custodial Account
used for any illegal purpose, and Client agrees to defend, indemnify and hold PAN harmless from any claims or demands related thereto
whenever arising or discovered.
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Client agrees that sufficient funds will be available in the Designated Account at least three (3) business days prior to date of all scheduled
                                                                      #:3136
ACH debits. Client understands and agrees that to stop or change a scheduled debit from the Designated Account, Client must notify PAN at
least three (3) business days prior to any such change. In the event Client’s Designated Account does not have sufficient funds for a
scheduled debit, PAN will not be liable to any third party due to insufficient funds, restriction or dishonor related to Client’s account. Client
authorizes PAN to recover any funds arising from a NSF, dishonor, or error in debiting the Designated Account. At its sole discretion, PAN may
recover any such funds by means of a debit to the Designated Account and/or the Custodial Account. Client agrees to defend, indemnify and
hold PAN harmless from any claims or demands related thereto whenever arising or discovered. If Client’s Custodian Account is suspended,
cancelled, or otherwise terminated for any reason and the account has a negative balance, Client agrees to pay the negative balance upon
demand. Should Client fail to remit the full amount of such negative balance, Client shall remain responsible for the deficit and collection
actions may be pursued against Client.

Client has an agreement with Service Provider, and the Payment Schedule is part of that agreement. Client directs and authorizes PAN to
share information with Service Provider as required by Service Provider and with any other authorized parties involved in the administration of
the Custodial Account on Client’s behalf. PAN is not an owner, employee, or partner of Service Provider, and provides the Services to Client
as an independent third party. Client agrees that PAN is not involved or engaged in any respect with the services provided by the Service
Provider, other than acting as a third-party escrow on behalf of Client and the Service Provider. Client agrees that PAN shall not be responsible
for determining when a payment is due or whether a payment is for the correct amount or otherwise proper. PAN’s sole obligation shall be to
execute Client’s payment instructions in a commercially reasonable manner as soon as practical after receipt of such instructions or after the
occurrence of the specified event authorizing release of a payment on behalf of Client. PAN shall not be liable for any conduct by Service
Provider or for penalty or other charge levied by anyone on Client, for any failure of anyone to honor a transaction or for any other adverse
action taken or not taken by any other party in connection with the Services. Under no circumstances shall PAN be liable for any special,
incidental, consequential, exemplary, or punitive damages.

PAN will provide Client an internet login with a login name and password for viewing the funds held in the Custodial Account and all transactions
related to Client via a protected website. Use of Client’s passcode, password or any other form of identification designated by Client in any
transaction constitutes and will be accepted as Client’s electronic signature, as that term is used in the federal Electronic Signature in Global
and National Commerce law and other applicable laws.

Client’s funds are held in the Custodial Account pending Client’s instructions for disbursement. Client has sole authority to authorize
disbursements or transfers. You expressly authorize PAN to rely on your instructions for this purpose whether transmitted directly by you, via
the Service Provider or by a third party you have authorized in whatever form provided, including but not limited to any instructions provided
via email, PAN’s website, E-signature, or other writing, verbally, by voicemail or any other means of communication. If Client is more than one
person, PAN may act upon receipt the instructions of either person; however, if conflicting instructions are received before any action has
been taken, PAN may in its sole discretion refrain from taking any action until it receives joint instructions from all Clients or a

court order directing further action. Client agrees that PAN shall have no right or obligation to control, direct, or change any disbursement
instructions provided by Client other than as expressly provided by this Agreement. {INITIAL}



Client may revoke any prior payment authorization at any time before such payment has been initiated by completing and submitting a
Revocation of Recurring Payment Authorization form to PAN by email or mail. See PAN’s Contact Information below.

PAN or Client may terminate this Agreement upon delivery of written notice at any time. Upon termination of this Agreement for any reason,
PAN shall arrange for Client’s remaining funds, apart from any funds due to be paid to the Service Provider or any other person or entity as a
result of the occurrence of specified events prior to delivery of the termination notice, to be transmitted from the Custodial Account to the
Designated Account.

Client agrees that all disclosures, account activity, notifications and any other communications related to the Services may be distributed to
Client by electronic mail or through PAN’s software services. Client acknowledges that Client is able to electronically receive, download and
print such information and communications. If Client is unable to communicate electronically for any reason, Client agrees to notify PAN
immediately, and reasonable alternative means of communication will be established in accordance with applicable law.

Client understands and agrees that all calls to and from PAN are monitored and recorded. Client verifies that the telephone and cellular phone
numbers and email addresses shown below presently belong to Client. Client consents to receive emails, prerecorded messages and/or auto
dialed calls (including text messages) relating to this Agreement and the Services. These communications may be made by PAN or its agents,
even if your phone number is registered on any state or federal “Do Not Call” list. You may incur a charge for such calls by your telephone
carrier. PAN may obtain and contact email addresses and phone numbers provided by you directly or obtained through other lawful means.
Your consent to this provision is not required as a condition of entering into this Agreement, and you may opt out from consenting to these
provisions by contacting PAN in writing at PAN’s Contact Information below.

You agree to provide notice within 30 days of any change to your email address or phone numbers by writing to PAN’s Contact Information
below.

ARBITRATION OF DISPUTES - IMPORTANT NOTICE AFFECTING YOUR RIGHTS                                                        EXHIBIT 10
                                                                                                                           Page
You agree that any controversy, claim or dispute between the parties arising out of or relating to this Agreement, or to any   of31
                                                                                                                                  the services
provided pursuant to this Agreement, or the breach, termination, enforcement, interpretation or validity thereof, including the determination of
the scope or applicability of this Agreement to arbitrate, shall be determined by binding arbitration conducted in the federal judicial district where
the Client resides.
               Case  The  parties agree that this arbitrationDocument
                        8:19-cv-02109-JVS-ADS                 provision shall
                                                                          57-2be governed  by and enforceable
                                                                                    Filed 11/14/19      Pageunder
                                                                                                              44 ofthe
                                                                                                                     108Federal
                                                                                                                             PageArbitration
                                                                                                                                     ID Act.
Otherwise, parties agree that the laws of the Client’s state of residence     shall
                                                                         #:3137     govern any dispute between them. The  parties agree   the
arbitration shall be conducted before a single arbitrator pursuant to the rules and procedures of the American Arbitration Association ("AAA").
The arbitrator shall be neutral and independent and shall comply with the AAA code of ethics. Any award rendered by the arbitrator shall be final
and shall not be subject to vacation or modification. Judgment on the award made by the arbitrator may be entered in any court having
jurisdiction over the parties. The parties agree that either party may bring claims against the other only in his/her or its individual capacity and
not as a plaintiff or class member in any purported class or representative proceeding. Further, the parties agree that the arbitrator may not
consolidate proceedings of more than one person's claims, and may not otherwise preside over any form of representative or class
proceeding. The parties shall share the costs of the arbitration, not including attorney’s fees or expert witness expenses, equally. If the
consumer's share of the costs is greater than two-thousand dollars ($2,000.00), PAN will pay the consumer’s share of any costs in excess of
that amount. In the event that a party fails to proceed with arbitration, unsuccessfully challenges the arbitrator's award, or fails to comply with
the arbitrator's award, the other party shall be entitled to obtain costs of suit, including any reasonable attorney’s fees incurred for having to
compel arbitration or defend or enforce the award. Binding Arbitration means that both parties give up the right to a trial by a jury. It also
means that both parties give up the right to appeal from the arbitrators ruling, except for a narrow range of issues that can or may be
appealed. It also means that discovery may be severely limited by the arbitrator. This section and the requirement to arbitrate shall survive
any termination of this Agreement.

This Agreement constitutes the entire agreement between Client and PAN. No modifications, variations or waivers of any provisions of this
Agreement shall be deemed valid unless in writing and signed by Client and PAN.




                                                                                                                          EXHIBIT 10
                                                                                                                            Page 32
Client Last Name        First Name                            Social Security        Date of Birth
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                                         Middle Name/Initial
                                                                        Page 45 of 108   Page ID
GRAY                                             #:3138                                   /1995


                                                                                 Social Security
Co-Client Last Name      First Name                   Middle Name/Initial                                    Date of Birth
                                                                                 --


Address                                                            City, State, ZIP

                                    FL 32114                                      , FL, 32114


Phone                                     Email                                          Mothers Maiden Name

        -0889                                            @yahoo.com


Authorized Service Provider/Agent                                  Account ID

Arete Financial                                                    AR--1



Client Signature   {SIGNATURE}                 Date   {SIGNDATE}                 Notifications To Payment Automation Network

                                                                                 Email: Clients@paymentautomation.net

                                                                                 Phone: (800)813-3740
Co-Cleint
                   {COSIGNATURE}               Date   {COSIGNDATE}               Fax: (866)600-2703
Signature
                                                                                 Portal: https://client.paymentautomation.net




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                                                #:3139
                                                                                                          CUSTODIAL ACCOUNT AGREEMENT

                                                                                                                                              Ver 10/30/2014



AUTHORIZATION FOR RECURRING DIRECT PAYMENTS I (we) hereby authorize PAN to initiate ACH debit entries from the account at the
depository financial institution named below and to debit the same to such account. I (we) acknowledge that the origination of ACH transactions
to the account must comply with the provisions of U.S. law. This authorization is to remain in full force and effect until PAN has received
written notification from me (or either of us) of its termination at least three (3) days to afford PAN and DEPOSITORY a reasonable
opportunity to act on it, or until the scheduled debits are completed.er than three (3) days to afford PAN and DEPOSITORY a reasonable
opportunity to act on it, or until the scheduled debits are completed.


                                                      Routing
Bank Name              Account Number                         Account Type               Account Fees
                                                      Number

                                                                                         I authorize PAN to charge my Primary Financial
Authorizing Person's Name (as it appears on check)                                       Institution or my Custodial Account in accordance with
                                                                                         the following fees for services rendered.



                                                                                                                        Monthly Custodial Account:$6.75
Address, City, State, Zip (as it appears on check)
                                                                                                                            Unauthorized Returns:$35.00
                                          FL 32114,                  FL, 32114
                                                                                                                                    Stop Payment:$25.00

                                                                                                                                  Return Item Fee: $0.00


Recurring Debit Authorization                         Effective Date (Date of First Debit) Fees for Disbursements per occurrence or any
                                                                                           other appropriate service.
$799.00                                               Jan 31, 2019



                                                                                                                                  ACH Credit:$5.00
The specific debits to my account authorized herein may only post on or after the
EFFECTIVE DATE listed in the attached payment schedule. This authorization is to                                      ACH Debit/Check by phone:$5.00

remain in full force and effect until PAN has received written notification from me of
                                                                                                                Overnight Check, Wire Transfer:   $25.00
termination in such time and in such manner as to afford PAN a reasonable
opportunity to act.                                                                                                            2-Day Check:$10.00

                                                                                                                               USPS Check: $5.00


                                                                                         Notifications To Payment Automation Network
Client Signature       {SIGNDATE}                     DATE   Jan 23, 2019
                                                                                         Email: Clients@paymentautomation.net

                                                                                         Phone: (800)813-3740

                                                                                         Fax: (866)600-2703
CO-Client
                                                      DATE   Jan 23, 2019
Signature                                                                                Portal: https://client.paymentautomation.net


                                                                Payment Schedule

    #           Date                    Enrollment Fee                       Monthly Service Fee                          Total Payment
1       Jan 31, 2019            $266.33                             $0.00                                         $266.33
2       Feb 28, 2019            $266.33                             $0.00                                         $266.33
3       Mar 29, 2019            $266.34                             $0.00                                         $266.34
4       May 01, 2019            $0.00                               $39.00                                        $39.00EXHIBIT 10
                                                                                                                             Page 34
                                $799.00                             $11,583.00                                    $12,382.00
     #           Date              Enrollment Fee            Monthly Service Fee              Total Payment
5
              Case
         May 31, 2019
                     8:19-cv-02109-JVS-ADS
                             $0.00
                                               Document 57-2
                                                     $39.00
                                                              Filed 11/14/19 Page 47 of 108
                                                                                        $39.00
                                                                                               Page ID
                                                       #:3140
6        Jul 01, 2019      $0.00                     $39.00                             $39.00
7        Jul 31, 2019      $0.00                     $39.00                             $39.00
8        Sep 03, 2019      $0.00                     $39.00                             $39.00
9        Oct 01, 2019      $0.00                     $39.00                             $39.00
10       Oct 31, 2019      $0.00                     $39.00                             $39.00
11       Dec 02, 2019      $0.00                     $39.00                             $39.00
12       Dec 31, 2019      $0.00                     $39.00                             $39.00
13       Jan 31, 2020      $0.00                     $39.00                             $39.00
14       Mar 02, 2020      $0.00                     $39.00                             $39.00
15       Mar 31, 2020      $0.00                     $39.00                             $39.00
16       May 01, 2020      $0.00                     $39.00                             $39.00
17       Jun 01, 2020      $0.00                     $39.00                             $39.00
18       Jul 01, 2020      $0.00                     $39.00                             $39.00
19       Jul 31, 2020      $0.00                     $39.00                             $39.00
20       Aug 31, 2020      $0.00                     $39.00                             $39.00
21       Oct 01, 2020      $0.00                     $39.00                             $39.00
22       Nov 02, 2020      $0.00                     $39.00                             $39.00
23       Dec 01, 2020      $0.00                     $39.00                             $39.00
24       Dec 31, 2020      $0.00                     $39.00                             $39.00
25       Feb 01, 2021      $0.00                     $39.00                             $39.00
26       Mar 03, 2021      $0.00                     $39.00                             $39.00
27       Mar 31, 2021      $0.00                     $39.00                             $39.00
28       May 03, 2021      $0.00                     $39.00                             $39.00
29       Jun 01, 2021      $0.00                     $39.00                             $39.00
30       Jul 01, 2021      $0.00                     $39.00                             $39.00
31       Aug 02, 2021      $0.00                     $39.00                             $39.00
32       Aug 31, 2021      $0.00                     $39.00                             $39.00
33       Oct 01, 2021      $0.00                     $39.00                             $39.00
34       Nov 01, 2021      $0.00                     $39.00                             $39.00
35       Dec 01, 2021      $0.00                     $39.00                             $39.00
36       Jan 03, 2022      $0.00                     $39.00                             $39.00
37       Jan 31, 2022      $0.00                     $39.00                             $39.00
38       Mar 03, 2022      $0.00                     $39.00                             $39.00
39       Mar 31, 2022      $0.00                     $39.00                             $39.00
40       May 02, 2022      $0.00                     $39.00                             $39.00
41       May 31, 2022      $0.00                     $39.00                             $39.00
42       Jul 01, 2022      $0.00                     $39.00                             $39.00
43       Aug 01, 2022      $0.00                     $39.00                             $39.00
44       Aug 31, 2022      $0.00                     $39.00                             $39.00
45       Oct 03, 2022      $0.00                     $39.00                             $39.00
46       Oct 31, 2022      $0.00                     $39.00                             $39.00
47       Dec 01, 2022      $0.00                     $39.00                             $39.00
48       Jan 03, 2023      $0.00                     $39.00                             $39.00
49       Jan 31, 2023      $0.00                     $39.00                             $39.00
50       Mar 03, 2023      $0.00                     $39.00                             $39.00
51       Mar 31, 2023      $0.00                     $39.00                             $39.00
52       May 01, 2023      $0.00                     $39.00                             $39.00
53       May 31, 2023      $0.00                     $39.00                             $39.00
54       Jul 03, 2023      $0.00                     $39.00                             $39.00EXHIBIT 10
                                                                                                 Page 35
                           $799.00                   $11,583.00                         $12,382.00
     #            Date              Enrollment Fee            Monthly Service Fee              Total Payment
55
               Case
         Jul 31, 2023
                      8:19-cv-02109-JVS-ADS
                              $0.00
                                                Document 57-2
                                                      $39.00
                                                               Filed 11/14/19 Page 48 of 108
                                                                                         $39.00
                                                                                                Page ID
                                                        #:3141
56       Aug 31, 2023      $0.00                      $39.00                             $39.00
57       Oct 02, 2023      $0.00                      $39.00                             $39.00
58       Oct 31, 2023      $0.00                      $39.00                             $39.00
59       Dec 01, 2023      $0.00                      $39.00                             $39.00
60       Jan 02, 2024      $0.00                      $39.00                             $39.00
61       Jan 31, 2024      $0.00                      $39.00                             $39.00
62       Mar 04, 2024      $0.00                      $39.00                             $39.00
63       Apr 01, 2024      $0.00                      $39.00                             $39.00
64       May 01, 2024      $0.00                      $39.00                             $39.00
65       May 31, 2024      $0.00                      $39.00                             $39.00
66       Jul 01, 2024      $0.00                      $39.00                             $39.00
67       Jul 31, 2024      $0.00                      $39.00                             $39.00
68       Sep 03, 2024      $0.00                      $39.00                             $39.00
69       Oct 01, 2024      $0.00                      $39.00                             $39.00
70       Oct 31, 2024      $0.00                      $39.00                             $39.00
71       Dec 02, 2024      $0.00                      $39.00                             $39.00
72       Dec 31, 2024      $0.00                      $39.00                             $39.00
73       Jan 31, 2025      $0.00                      $39.00                             $39.00
74       Mar 03, 2025      $0.00                      $39.00                             $39.00
75       Mar 31, 2025      $0.00                      $39.00                             $39.00
76       May 01, 2025      $0.00                      $39.00                             $39.00
77       Jun 02, 2025      $0.00                      $39.00                             $39.00
78       Jul 01, 2025      $0.00                      $39.00                             $39.00
79       Jul 31, 2025      $0.00                      $39.00                             $39.00
80       Sep 02, 2025      $0.00                      $39.00                             $39.00
81       Oct 01, 2025      $0.00                      $39.00                             $39.00
82       Oct 31, 2025      $0.00                      $39.00                             $39.00
83       Dec 01, 2025      $0.00                      $39.00                             $39.00
84       Dec 31, 2025      $0.00                      $39.00                             $39.00
85       Feb 02, 2026      $0.00                      $39.00                             $39.00
86       Mar 03, 2026      $0.00                      $39.00                             $39.00
87       Mar 31, 2026      $0.00                      $39.00                             $39.00
88       May 01, 2026      $0.00                      $39.00                             $39.00
89       Jun 01, 2026      $0.00                      $39.00                             $39.00
90       Jul 01, 2026      $0.00                      $39.00                             $39.00
91       Jul 31, 2026      $0.00                      $39.00                             $39.00
92       Aug 31, 2026      $0.00                      $39.00                             $39.00
93       Oct 01, 2026      $0.00                      $39.00                             $39.00
94       Nov 02, 2026      $0.00                      $39.00                             $39.00
95       Dec 01, 2026      $0.00                      $39.00                             $39.00
96       Dec 31, 2026      $0.00                      $39.00                             $39.00
97       Feb 01, 2027      $0.00                      $39.00                             $39.00
98       Mar 03, 2027      $0.00                      $39.00                             $39.00
99       Mar 31, 2027      $0.00                      $39.00                             $39.00
100      May 03, 2027      $0.00                      $39.00                             $39.00
101      Jun 01, 2027      $0.00                      $39.00                             $39.00
102      Jul 01, 2027      $0.00                      $39.00                             $39.00
103      Aug 02, 2027      $0.00                      $39.00                             $39.00
104      Aug 31, 2027      $0.00                      $39.00                             $39.00EXHIBIT 10
                                                                                                  Page 36
                           $799.00                    $11,583.00                         $12,382.00
  #            Date              Enrollment Fee            Monthly Service Fee              Total Payment
105
            Case
      Oct 01, 2027
                   8:19-cv-02109-JVS-ADS
                           $0.00
                                             Document 57-2
                                                   $39.00
                                                            Filed 11/14/19 Page 49 of 108
                                                                                      $39.00
                                                                                             Page ID
                                                     #:3142
106   Nov 01, 2027      $0.00                      $39.00                             $39.00
107   Dec 01, 2027      $0.00                      $39.00                             $39.00
108   Jan 03, 2028      $0.00                      $39.00                             $39.00
109   Jan 31, 2028      $0.00                      $39.00                             $39.00
110   Mar 02, 2028      $0.00                      $39.00                             $39.00
111   Mar 31, 2028      $0.00                      $39.00                             $39.00
112   May 01, 2028      $0.00                      $39.00                             $39.00
113   May 31, 2028      $0.00                      $39.00                             $39.00
114   Jul 03, 2028      $0.00                      $39.00                             $39.00
115   Jul 31, 2028      $0.00                      $39.00                             $39.00
116   Aug 31, 2028      $0.00                      $39.00                             $39.00
117   Oct 02, 2028      $0.00                      $39.00                             $39.00
118   Oct 31, 2028      $0.00                      $39.00                             $39.00
119   Dec 01, 2028      $0.00                      $39.00                             $39.00
120   Jan 02, 2029      $0.00                      $39.00                             $39.00
121   Jan 31, 2029      $0.00                      $39.00                             $39.00
122   Mar 05, 2029      $0.00                      $39.00                             $39.00
123   Apr 02, 2029      $0.00                      $39.00                             $39.00
124   May 01, 2029      $0.00                      $39.00                             $39.00
125   May 31, 2029      $0.00                      $39.00                             $39.00
126   Jul 02, 2029      $0.00                      $39.00                             $39.00
127   Jul 31, 2029      $0.00                      $39.00                             $39.00
128   Aug 31, 2029      $0.00                      $39.00                             $39.00
129   Oct 01, 2029      $0.00                      $39.00                             $39.00
130   Oct 31, 2029      $0.00                      $39.00                             $39.00
131   Dec 03, 2029      $0.00                      $39.00                             $39.00
132   Dec 31, 2029      $0.00                      $39.00                             $39.00
133   Jan 31, 2030      $0.00                      $39.00                             $39.00
134   Mar 04, 2030      $0.00                      $39.00                             $39.00
135   Apr 01, 2030      $0.00                      $39.00                             $39.00
136   May 01, 2030      $0.00                      $39.00                             $39.00
137   May 31, 2030      $0.00                      $39.00                             $39.00
138   Jul 01, 2030      $0.00                      $39.00                             $39.00
139   Jul 31, 2030      $0.00                      $39.00                             $39.00
140   Sep 02, 2030      $0.00                      $39.00                             $39.00
141   Oct 01, 2030      $0.00                      $39.00                             $39.00
142   Oct 31, 2030      $0.00                      $39.00                             $39.00
143   Dec 02, 2030      $0.00                      $39.00                             $39.00
144   Dec 31, 2030      $0.00                      $39.00                             $39.00
145   Jan 31, 2031      $0.00                      $39.00                             $39.00
146   Mar 03, 2031      $0.00                      $39.00                             $39.00
147   Mar 31, 2031      $0.00                      $39.00                             $39.00
148   May 01, 2031      $0.00                      $39.00                             $39.00
149   Jun 02, 2031      $0.00                      $39.00                             $39.00
150   Jul 01, 2031      $0.00                      $39.00                             $39.00
151   Jul 31, 2031      $0.00                      $39.00                             $39.00
152   Sep 01, 2031      $0.00                      $39.00                             $39.00
153   Oct 01, 2031      $0.00                      $39.00                             $39.00
154   Oct 31, 2031      $0.00                      $39.00                             $39.00EXHIBIT 10
                                                                                               Page 37
                        $799.00                    $11,583.00                         $12,382.00
  #           Date               Enrollment Fee            Monthly Service Fee              Total Payment
155
           Case
      Dec 01, 2031
                   8:19-cv-02109-JVS-ADS
                           $0.00
                                             Document 57-2
                                                   $39.00
                                                            Filed 11/14/19 Page 50 of 108
                                                                                      $39.00
                                                                                             Page ID
                                                     #:3143
156   Dec 31, 2031      $0.00                      $39.00                             $39.00
157   Feb 02, 2032      $0.00                      $39.00                             $39.00
158   Mar 02, 2032      $0.00                      $39.00                             $39.00
159   Mar 31, 2032      $0.00                      $39.00                             $39.00
160   May 03, 2032      $0.00                      $39.00                             $39.00
161   May 31, 2032      $0.00                      $39.00                             $39.00
162   Jul 01, 2032      $0.00                      $39.00                             $39.00
163   Aug 02, 2032      $0.00                      $39.00                             $39.00
164   Aug 31, 2032      $0.00                      $39.00                             $39.00
165   Oct 01, 2032      $0.00                      $39.00                             $39.00
166   Nov 01, 2032      $0.00                      $39.00                             $39.00
167   Dec 01, 2032      $0.00                      $39.00                             $39.00
168   Dec 31, 2032      $0.00                      $39.00                             $39.00
169   Jan 31, 2033      $0.00                      $39.00                             $39.00
170   Mar 03, 2033      $0.00                      $39.00                             $39.00
171   Mar 31, 2033      $0.00                      $39.00                             $39.00
172   May 02, 2033      $0.00                      $39.00                             $39.00
173   May 31, 2033      $0.00                      $39.00                             $39.00
174   Jul 01, 2033      $0.00                      $39.00                             $39.00
175   Aug 01, 2033      $0.00                      $39.00                             $39.00
176   Aug 31, 2033      $0.00                      $39.00                             $39.00
177   Oct 03, 2033      $0.00                      $39.00                             $39.00
178   Oct 31, 2033      $0.00                      $39.00                             $39.00
179   Dec 01, 2033      $0.00                      $39.00                             $39.00
180   Jan 02, 2034      $0.00                      $39.00                             $39.00
181   Jan 31, 2034      $0.00                      $39.00                             $39.00
182   Mar 03, 2034      $0.00                      $39.00                             $39.00
183   Mar 31, 2034      $0.00                      $39.00                             $39.00
184   May 01, 2034      $0.00                      $39.00                             $39.00
185   May 31, 2034      $0.00                      $39.00                             $39.00
186   Jul 03, 2034      $0.00                      $39.00                             $39.00
187   Jul 31, 2034      $0.00                      $39.00                             $39.00
188   Aug 31, 2034      $0.00                      $39.00                             $39.00
189   Oct 02, 2034      $0.00                      $39.00                             $39.00
190   Oct 31, 2034      $0.00                      $39.00                             $39.00
191   Dec 01, 2034      $0.00                      $39.00                             $39.00
192   Jan 01, 2035      $0.00                      $39.00                             $39.00
193   Jan 31, 2035      $0.00                      $39.00                             $39.00
194   Mar 05, 2035      $0.00                      $39.00                             $39.00
195   Apr 02, 2035      $0.00                      $39.00                             $39.00
196   May 01, 2035      $0.00                      $39.00                             $39.00
197   May 31, 2035      $0.00                      $39.00                             $39.00
198   Jul 02, 2035      $0.00                      $39.00                             $39.00
199   Jul 31, 2035      $0.00                      $39.00                             $39.00
200   Aug 31, 2035      $0.00                      $39.00                             $39.00
201   Oct 01, 2035      $0.00                      $39.00                             $39.00
202   Oct 31, 2035      $0.00                      $39.00                             $39.00
203   Dec 03, 2035      $0.00                      $39.00                             $39.00
204   Dec 31, 2035      $0.00                      $39.00                             $39.00EXHIBIT 10
                                                                                               Page 38
                        $799.00                    $11,583.00                         $12,382.00
  #            Date              Enrollment Fee            Monthly Service Fee              Total Payment
205
           Case
      Jan 31, 2036
                   8:19-cv-02109-JVS-ADS
                           $0.00
                                             Document 57-2
                                                   $39.00
                                                            Filed 11/14/19 Page 51 of 108
                                                                                      $39.00
                                                                                             Page ID
                                                     #:3144
206   Mar 03, 2036      $0.00                      $39.00                             $39.00
207   Mar 31, 2036      $0.00                      $39.00                             $39.00
208   May 01, 2036      $0.00                      $39.00                             $39.00
209   Jun 02, 2036      $0.00                      $39.00                             $39.00
210   Jul 01, 2036      $0.00                      $39.00                             $39.00
211   Jul 31, 2036      $0.00                      $39.00                             $39.00
212   Sep 01, 2036      $0.00                      $39.00                             $39.00
213   Oct 01, 2036      $0.00                      $39.00                             $39.00
214   Oct 31, 2036      $0.00                      $39.00                             $39.00
215   Dec 01, 2036      $0.00                      $39.00                             $39.00
216   Dec 31, 2036      $0.00                      $39.00                             $39.00
217   Feb 02, 2037      $0.00                      $39.00                             $39.00
218   Mar 03, 2037      $0.00                      $39.00                             $39.00
219   Mar 31, 2037      $0.00                      $39.00                             $39.00
220   May 01, 2037      $0.00                      $39.00                             $39.00
221   Jun 01, 2037      $0.00                      $39.00                             $39.00
222   Jul 01, 2037      $0.00                      $39.00                             $39.00
223   Jul 31, 2037      $0.00                      $39.00                             $39.00
224   Aug 31, 2037      $0.00                      $39.00                             $39.00
225   Oct 01, 2037      $0.00                      $39.00                             $39.00
226   Nov 02, 2037      $0.00                      $39.00                             $39.00
227   Dec 01, 2037      $0.00                      $39.00                             $39.00
228   Dec 31, 2037      $0.00                      $39.00                             $39.00
229   Feb 01, 2038      $0.00                      $39.00                             $39.00
230   Mar 03, 2038      $0.00                      $39.00                             $39.00
231   Mar 31, 2038      $0.00                      $39.00                             $39.00
232   May 03, 2038      $0.00                      $39.00                             $39.00
233   May 31, 2038      $0.00                      $39.00                             $39.00
234   Jul 01, 2038      $0.00                      $39.00                             $39.00
235   Aug 02, 2038      $0.00                      $39.00                             $39.00
236   Aug 31, 2038      $0.00                      $39.00                             $39.00
237   Oct 01, 2038      $0.00                      $39.00                             $39.00
238   Nov 01, 2038      $0.00                      $39.00                             $39.00
239   Dec 01, 2038      $0.00                      $39.00                             $39.00
240   Dec 31, 2038      $0.00                      $39.00                             $39.00
241   Jan 31, 2039      $0.00                      $39.00                             $39.00
242   Mar 03, 2039      $0.00                      $39.00                             $39.00
243   Mar 31, 2039      $0.00                      $39.00                             $39.00
244   May 02, 2039      $0.00                      $39.00                             $39.00
245   May 31, 2039      $0.00                      $39.00                             $39.00
246   Jul 01, 2039      $0.00                      $39.00                             $39.00
247   Aug 01, 2039      $0.00                      $39.00                             $39.00
248   Aug 31, 2039      $0.00                      $39.00                             $39.00
249   Oct 03, 2039      $0.00                      $39.00                             $39.00
250   Oct 31, 2039      $0.00                      $39.00                             $39.00
251   Dec 01, 2039      $0.00                      $39.00                             $39.00
252   Jan 02, 2040      $0.00                      $39.00                             $39.00
253   Jan 31, 2040      $0.00                      $39.00                             $39.00
254   Mar 02, 2040      $0.00                      $39.00                             $39.00EXHIBIT 10
                                                                                               Page 39
                        $799.00                    $11,583.00                         $12,382.00
  #            Date              Enrollment Fee            Monthly Service Fee              Total Payment
255
            Case
      Apr 02, 2040
                   8:19-cv-02109-JVS-ADS
                           $0.00
                                             Document 57-2
                                                   $39.00
                                                            Filed 11/14/19 Page 52 of 108
                                                                                      $39.00
                                                                                             Page ID
                                                     #:3145
256   May 01, 2040      $0.00                      $39.00                             $39.00
257   May 31, 2040      $0.00                      $39.00                             $39.00
258   Jul 02, 2040      $0.00                      $39.00                             $39.00
259   Jul 31, 2040      $0.00                      $39.00                             $39.00
260   Aug 31, 2040      $0.00                      $39.00                             $39.00
261   Oct 01, 2040      $0.00                      $39.00                             $39.00
262   Oct 31, 2040      $0.00                      $39.00                             $39.00
263   Dec 03, 2040      $0.00                      $39.00                             $39.00
264   Dec 31, 2040      $0.00                      $39.00                             $39.00
265   Jan 31, 2041      $0.00                      $39.00                             $39.00
266   Mar 04, 2041      $0.00                      $39.00                             $39.00
267   Apr 01, 2041      $0.00                      $39.00                             $39.00
268   May 01, 2041      $0.00                      $39.00                             $39.00
269   May 31, 2041      $0.00                      $39.00                             $39.00
270   Jul 01, 2041      $0.00                      $39.00                             $39.00
271   Jul 31, 2041      $0.00                      $39.00                             $39.00
272   Sep 02, 2041      $0.00                      $39.00                             $39.00
273   Oct 01, 2041      $0.00                      $39.00                             $39.00
274   Oct 31, 2041      $0.00                      $39.00                             $39.00
275   Dec 02, 2041      $0.00                      $39.00                             $39.00
276   Dec 31, 2041      $0.00                      $39.00                             $39.00
277   Jan 31, 2042      $0.00                      $39.00                             $39.00
278   Mar 03, 2042      $0.00                      $39.00                             $39.00
279   Mar 31, 2042      $0.00                      $39.00                             $39.00
280   May 01, 2042      $0.00                      $39.00                             $39.00
281   Jun 02, 2042      $0.00                      $39.00                             $39.00
282   Jul 01, 2042      $0.00                      $39.00                             $39.00
283   Jul 31, 2042      $0.00                      $39.00                             $39.00
284   Sep 01, 2042      $0.00                      $39.00                             $39.00
285   Oct 01, 2042      $0.00                      $39.00                             $39.00
286   Oct 31, 2042      $0.00                      $39.00                             $39.00
287   Dec 01, 2042      $0.00                      $39.00                             $39.00
288   Dec 31, 2042      $0.00                      $39.00                             $39.00
289   Feb 02, 2043      $0.00                      $39.00                             $39.00
290   Mar 03, 2043      $0.00                      $39.00                             $39.00
291   Mar 31, 2043      $0.00                      $39.00                             $39.00
292   May 01, 2043      $0.00                      $39.00                             $39.00
293   Jun 01, 2043      $0.00                      $39.00                             $39.00
294   Jul 01, 2043      $0.00                      $39.00                             $39.00
295   Jul 31, 2043      $0.00                      $39.00                             $39.00
296   Aug 31, 2043      $0.00                      $39.00                             $39.00
297   Oct 01, 2043      $0.00                      $39.00                             $39.00
298   Nov 02, 2043      $0.00                      $39.00                             $39.00
299   Dec 01, 2043      $0.00                      $39.00                             $39.00
300   Dec 31, 2043      $0.00                      $39.00                             $39.00
                        $799.00                    $11,583.00                         $12,382.00



                                                                                           EXHIBIT 10
                                                                                             Page 40
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                           EXHIBIT 11
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                                                 #:3147




                                                            SERVICE AGREEMENT

This service agreement (“Agreement”) is made and entered into this 15th day of September, 2018, by and between USFFC.ORG
(“USFFC.ORG”), and          Crumble hereinafter referred to as ("Client"), whose address is                            PA 19143, with
reference to the following.

                                                                  RECITALS

     A. USFFC.ORG provides document processing services to individuals with federal student loans who are seeking to consolidate the
     existing loans through programs offered by the Department of Education (“Federal Student Loan Consolidation”) and/or restructure the
     current payment to a new ("Income-Driven Repayment");

     B. Client requests USFFC.ORG perform the services outlined below to assist them in submitting a new loan application to the
     Department of Education (”DOE”);

     C. In consideration of the foregoing covenants and conditions set forth, below, USFFC.ORG and Client do hereby agree to the following:

1. Client Loan Service Definition.

USFFC.ORG provides document processing and support services to Clients applying for a Federal Student Loan Consolidation with the DOE.
USFFC.ORG will provide (a) a review of the Client’s current financial situation; (b) analyze and review available Federal Student Loan
Consolidation programs offered by the DOE based on Client’s current financial situation; (c) following Client’s selection of a program, compile
information and submit on the Client’s behalf a Federal Student Loan Consolidation application with the DOE (the “Services”).

2. Nature of Service; No Legal or Tax Advice.

USFFC.ORG is a private company not affiliated with any government agency. Client acknowledges that the programs that Clients is seeking
are available without cost to Client. The Client acknowledges that USFFC.ORG is not a law firm, and that no legal or tax advice can or will be
provided under this agreement. Client acknowledges and agrees that the Services do not consist of any renegotiation, restructure, reduction or
other adjustment of the terms of any existing loan or debt.

3. Rehabilitation; Garnishment.

If any of the Client’s existing federal student loans are in default and/or the Client is being garnished by any lender, USFFC.ORG will provide
Client the option of rehabilitating said loans. Once the rehabilitation process is completed, USFFC.ORG will consolidate the Client’s federal
student loans through the DOE. The rehabilitation of a loan in default will require an additional fee.

4. Fees.

Client agrees to pay USFFC.ORG a Service fee of $599.00 for providing the Services. In addition Client agrees to pay USFFC.ORG a
Monthly Maintenance fee of: $39.00. The Service fee will only be earned after Client is approved for a program through DOE. If Client’s
Federal Student Loan application is not approved for a program through DOE, USFFC.ORG will reimburse 100% of all Clients' fees collected.
Client also understands that a third party payment processing company will be pulling the Client’s Service fee and Monthly Maintenance fee
payments.

5. Refund.

Client understands that USFFC.ORG is a document processing company and cannot guarantee a payment or loan terms quoted by the DOE
website. However, USFFC.ORG guarantees that Client will receive a Federal Student Loan Consolidation, or a repayment plan using current
lenders, through the DOE subject to the following conditions: (1) Client’s existing loans are original debts, and have not been previously
consolidated or restructured (2) Client fully cooperates with USFFC.ORG providing all information requested by USFFC.ORG and DOE in a
timely manner as deemed by USFFC.ORG and that such information is complete and accurate; and (3) Client’s loan application is not
disqualified by the DOE due to issue or characteristic related to Client. All refund requests must be made within 30 days of any loan
application denial by the DOE. USFFC.ORG will reimburse 100% of the Service fee paid by Client.

6. Process.

Following receipt of all necessary information from Client and the first payment has been made, the Services will commence. USFFC.ORG
                                                                                                                    EXHIBIT 11
relies on the applicable lender(s) and USFFC.ORG cannot be held liable for delayed completion due to delays in obtainingPage
                                                                                                                         information
                                                                                                                             41      or
approvals from third parties or the DOE. The average completion time to process a Federal Student Loan Consolidation through USFFC.ORG
                                                        ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
is approximately ninety (90) days, unless a rehabilitation is required for the Client, or a forbearance plan is necessary.
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7. Client Warranty.
                                                 #:3148
Client expressly represents and warrants that they will provide USFFC.ORG with information that is complete and accurate to the best of their
knowledge. USFFC.ORG is under no obligation to independently verify the information provided by Client.

8. Client Authorization.

I hereby authorize USFFC.ORG to verify my present employment earning records, bank accounts, and any other asset balances that are
needed to process my Federal Student Loan Consolidation application. I further authorize USFFC.ORG to order a consumer credit report and
verify other credit information, including past and present lender and landlord reporting. It is understood that a copy of this Agreement will also
serve as authorization. The information USFFC.ORG obtains is to be used solely in the processing of Client’s application for a Federal Student
Loan Consolidation.

9. Arbitration and Choice of Law.

This Agreement shall be governed by the laws of the State of California. In the event of any controversy, claim, or dispute between the
parties arising out of, or relating to this Agreement, the parties agree to resolve all issues solely through the use of binding arbitration with the
American Arbitration Association ("AAA"). The arbitration shall take place in Orange County, California or in the closet metropolitan area to the
residence of the Client. There shall be a single arbitrator selected by the parties. The arbitrator shall have the sole authority to resolve any
dispute relating to the interpretation, applicability, enforceability, conscionability or formation of this Agreement. The award rendered by the
Arbitrator shall be final and binding on all parties. The award made by the arbitrator may be entered into any court having jurisdiction over the
parties. The parties further agree that either party may bring claims against the other only in their individual capacity and not as a plaintiff or
class member in any purported class action or representative proceeding. Further, the parties agree that the arbitrator may not consolidate
proceedings of more than one person's claims, and may not otherwise preside over any form of representative or class proceeding. The
parties shall share the cost of Arbitration, including attorneys' fees, equally, except as provided by AAA for consumer actions.

10. Indemnification.

Client hereby agrees to defend and hold harmless USFFC.ORG from and against any liable of any nature whatsoever arising out of, or in
connection with, Client’s breach of this Agreement, or arising from any incomplete or inaccurate information provided by Client.

11. Termination of Agreement.

Client may cancel this contract any time with written notice to USFFC.ORG prior to being approved for Federal Student Loan Consolidation.
Any fees paid to USFFC.ORG at time of cancellation shall be deemed earned as long as USFFC.ORG has acted in good faith in performing
services on behalf of Client. USFFC.ORG may terminate this Agreement upon a breach by Client of this Agreement by providing written
notice to Client.

12. Entire Agreement.

This Agreement embodies the entire understanding and agreement between the parties and all previous understandings, representatives,
statements, undertakings and agreements, written or oral, are canceled, withdrawn, and/or have merged into this Agreement. This Agreement
may not be amended except by writing, signed by both parties hereto, after the date of this Agreement.

13. Legal Authorization Form.

This form will serve to acknowledge that the below Client has authorized our company, USFFC.ORG (USFFC.ORG), to act on their behalf to
consolidate their Federal Student Loans in accordance with the DOE. Client has been advised that once approved for the Federal Student Loan
Consolidation, the Client will receive a sixty (60) day furlough before payments will start. If you have any questions regarding this Federal
Student Loan Consolidation Program, please contact your Client Loan Consolidation Specialist at (844) 593-8072.



        Crumble
NAME                                                                                       SIGN


 09/15/2018
DATE                                                                                       SSN




                                                                                                                           EXHIBIT 11
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Privacy Policy
              Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 56 of 108 Page ID
We are committed to providing the highest level of security and privacy regarding the collection and use of your personal information.
                                                                    #:3149
Personal information may be collected from your account Application, any updated information you may provide us from time to time and the
banking transactions processed through your Account. A description of our Privacy Policy is provided below. If you have additional questions
regarding the privacy of your personal information, please contact customer service at the address shown above.

Collection / Use of Personal Information: Our collection of your personal information is designed to protect access to your Account; and to
assist us in providing you with the products and services you want and need. All personal information collected and stored by us, or on our
behalf, is used for specific business purposes to protect and administer your Account and transactions; to comply with state and federal
regulations; and to help us better understand your needs in order to design or improve our products and services. Furthermore, auditing
mechanisms have been put into place to further protect your information by identifying the personnel who may have accessed and in any way
modified OR OTHERWISE CHANGED your personal information. The personal information we collect about you comes from the following
sources: Information we receive from you such as: your name, address, and telephone number, or other information that you provide to us
over the phone, in documents, or in applications. Notwithstanding information about your transactions; such as: account balances with
creditors, payment histories, account activity, and all other information that may be contained in your credit card statements and other reports
relating to your debt; including, information we receive from consumer reporting agencies, credit bureau reports, collection agency reports;
information relating to payment histories, creditworthiness, annual income, and your ability to satisfy obligations. In the future, we may pull
your individual credit report.

Maintenance of Accurate Information: It is in the best interest of both you and USFFC.ORG to maintain accurate records. If you have
questions regarding the accuracy of your personal information please contact USFFC.ORG Customer Service.

Limited Access to Personal Information: We limit access to your personal information to only personnel with a business need to know. We
educate our representatives about the importance of confidentiality and customer privacy. In addition, individual user names and passwords
are used by only approved personnel to restrict access, and further safeguard the privacy of your personnel information. You can help
maintain the security of any online transactions by not sharing your personal information or password with anyone. Remember, no method of
transmission over the Internet, or electronic storing of information is 100% secure.

Third-Party Disclosure Restrictions: We follow strict privacy procedures in regard to protecting your personal information. In addition, we
require all third parties with a business need to access this information to adhere to equally stringent privacy policies. Personal information
may be supplied to a third party in order to process a transaction you have authorized; or, if the disclosure is required or allowed by law (i.e.
exchange of information with reputable reporting agencies, subpoena, or the investigation of fraudulent activity, etc.). We prohibit the sale or
transfer of personal information to non-affiliated entities for their use without giving you the opportunity to opt-out. We may disclose such
information in order to effectively or carry out any transaction that you have requested of us; or as necessary to complete our contractual
obligations with you. We may also share your information with service providers that perform business operations for us; companies that act
on our behalf to market our services; or others, only as permitted or required by law, such as to protect against fraud or in response to a
subpoena. We may also share or transfer our information in the event we transfer or sell your account or our business assets to another
provider. In administering our services while servicing your account, we may disclose your information, as needed, and as permitted by law, to
your creditors, credit card companies, collection agencies, banks, other entities, and individuals.

Disclosure of Privacy Policies: We are committed to ensuring the privacy of your personal information. For more information regarding our
Privacy Policy, please contact customer service.

Your Choices/Opt-out: Where possible, we provide you the opportunity to 'opt-out' of having personal information shared. By providing
information to USFFC.ORG you are consenting to the collection, use, and disclosure of personal information in the manner described in this
privacy policy. This Policy applies to current and former customers. The consent to withdraw may be achieved by calling the telephone
number provided below, or sending written/email to our customer service at:

500 Ygnacio Valley Rd. Suite 430, Walnut Creek CA 94596 - (844) 593-8072

Email address: processing@USFFC.ORG

       Crumble
     NAME                                                                                   SIGN


 09/15/2018
     DATE




                                                                                                                       EXHIBIT 11
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                                                        Limited Scope Power of Attorney

       THIS LIMITED POWER OF ATTORNEY IS ONLY FOR THE PROCESS, ACCESS, COMMUNICATION, AND ACTIONS RELATED TO
       STUDENT LOANS ASSOCIATED WITH THE DEPARTMENT OF EDUCATION (“DOE”) AND CLIENT,     Crumble (“GRANTOR”). THIS
       LIMITED POWER OF ATTORNEY MAY BE REVOKED BY YOU THE GRANTOR AT ANY TIME BY WRITTEN NOTICE.

       I,       Crumble, Social Security #          , residing at                                    PA 19143,              PA 19143, this
       date, Sep 15, 2018, hereby appoints USFFC.ORG as my ATTORNEY-IN-FACT to perform on my behalf as indicated below. With this
       signature,         Crumble authorizes USFFC.ORG to act on my behalf with the DOE in all matters regarding my student loan, including
       but not limited to,




1.      Access my account with the DOE, including taking steps and providing information necessary to access the account.

2.      Communicate with the DOE related to my account and any forbearance, deferment and/or student loan consolidation.

3.      Drafting and, following my execution, submitting an application to the DOE.

4.      Engaging sub-contractors as may be appropriate to perform the services.



USFFC.ORG has full authority to represent me,            Crumble, to perform the services outlined in the Service Agreement.



This Limited Power of Attorney will remain in effect as of the effective date of the contract, and will remain in full force and effect until:



1.      It is revoked, suspended or terminated in writing by the GRANTOR; or

2.      The contract is terminated for any reason, whichever is earlier to occur.

500 Ygnacio Valley Rd. Suite 430, Walnut Creek CA 94596 - (844) 593-8072

        Crumble
     NAME                                                                                      SIGN


 09/15/2018
     DATE




                                                                                                                          EXHIBIT 11
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                                   #:3151




                                                  Crumble




                                                            PA                           19143

              7041                                               @yahoo.com

                                                                                                 1962




                                 1FILE.ORG

                     5772 BOLSA AVE. STE B220

      HUNTINGTON BEACH                                      CA                           92649

       844 593-8072                                                 3rd Party Organization




      09/15/2018




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                                   #:3152




    Crumble



                                                             --

                          PA 19143




1FILE.ORG, 5772 Bolsa Ave Suite 220, Huntington Beach, CA 92649




                   1040




                                     12   31   14       12        31      15        12   31   16




                                                                       09/15/2018




       {COSIGNATURE}                                                   09/15/2018



                                                                                                   EXHIBIT 11
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                                                         Credit Card Authorization Form

I         Crumble, authorize 1FILE.ORG to charge my credit card *****7707 For the total of $599.00 on the dates listed below          7885.

Oct 15, 2018                                    $99.83
Nov 15, 2018                                    $99.83
Dec 17, 2018                                    $99.83
Jan 15, 2019                                    $99.83
Feb 15, 2019                                    $99.83
Mar 15, 2019                                    $99.85

Additionally, I authorize 1FILE.ORG to charge a Monthly Maintenance Fee of 39.00 on the 15th of every month thereafter until loan obligations
have been fulfilled.




Your method of payment is as follows:

Credit Card Number: Visa                 Name On Credit Card:            Crumble
Credit Card Number: *****7707            Expiration Date: 03/2019                        Security Code - 3 digits on Back of Card:

Billing Address of Credit Card:

                                   PA 19143

Contact Numbers:

Home Phone:            -7041
Cell Phone:          -7041

Amount due $599.00 Contract            7885

    5772 Bolsa Ave. Suite 220, Huntington Beach, CA 92649 - (844) 593-8072



Signature
    09/15/2018
Date




                                                                                               CUSTODIAL ACCOUNT AGREEMENT
                                                                                                                                          Ver 12/03/2015



Client enters into this Agreement (Agreement) with Payment Automation Network, Inc. (PAN) for having PAN receive payments, make
disbursements authorized by Client upon Client’s instructions and/or the occurrence of specified events, and provide online transaction
management and accounting information on Client’s behalf (together, the “Services”).

Client authorizes PAN to (i) collect (debit) funds via ACH from Client’s designated financial institution (Designated Account) pursuant to the
Payment Schedule attached hereto (“Payment Schedule”); (ii) deposit such funds in a non-interest bearing FDIC custodial account (“Custodial
Account”); and (iii) disburse funds from the Custodial Account as directed by the payment schedule and/or by client solely upon receipt of
authorized instructions from Client, provided the balance in the Depository Account equals or exceeds the disbursement request. If the balance
of the Custodian Account is less than a requested disbursement, the disbursement direction will not be honored until theEXHIBIT 11 is increased to
                                                                                                                           balance
the desired amount.                                                                                                        Page 47
                                                          ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
Client agrees to pay PAN’s fees and charges shown below and such fees and charges may be deducted directly from the Custodial Account.
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Client agrees PAN will select the financial institution that will hold the Custodial Account. Client agrees that PAN may, at its sole discretion and
                                                                         #:3154
upon written notification to Client, change the financial institution that will hold the Custodial Account at any time, and that the Custodian
Account may be in California or any other state selected by PAN in its sole discretion. Client agrees that the Custodial Account will not be
used for any illegal purpose, and Client agrees to defend, indemnify and hold PAN harmless from any claims or demands related thereto
whenever arising or discovered.

Client agrees that sufficient funds will be available in the Designated Account at least three (3) business days prior to date of all scheduled
ACH debits. Client understands and agrees that to stop or change a scheduled debit from the Designated Account, Client must notify PAN at
least three (3) business days prior to any such change. In the event Client’s Designated Account does not have sufficient funds for a
scheduled debit, PAN will not be liable to any third party due to insufficient funds, restriction or dishonor related to Client’s account. Client
authorizes PAN to recover any funds arising from a NSF, dishonor, or error in debiting the Designated Account. At its sole discretion, PAN may
recover any such funds by means of a debit to the Designated Account and/or the Custodial Account. Client agrees to defend, indemnify and
hold PAN harmless from any claims or demands related thereto whenever arising or discovered. If Client’s Custodian Account is suspended,
cancelled, or otherwise terminated for any reason and the account has a negative balance, Client agrees to pay the negative balance upon
demand. Should Client fail to remit the full amount of such negative balance, Client shall remain responsible for the deficit and collection
actions may be pursued against Client.

Client has an agreement with Service Provider, and the Payment Schedule is part of that agreement. Client directs and authorizes PAN to
share information with Service Provider as required by Service Provider and with any other authorized parties involved in the administration of
the Custodial Account on Client’s behalf. PAN is not an owner, employee, or partner of Service Provider, and provides the Services to Client
as an independent third party. Client agrees that PAN is not involved or engaged in any respect with the services provided by the Service
Provider, other than acting as a third-party escrow on behalf of Client and the Service Provider. Client agrees that PAN shall not be responsible
for determining when a payment is due or whether a payment is for the correct amount or otherwise proper. PAN’s sole obligation shall be to
execute Client’s payment instructions in a commercially reasonable manner as soon as practical after receipt of such instructions or after the
occurrence of the specified event authorizing release of a payment on behalf of Client. PAN shall not be liable for any conduct by Service
Provider or for penalty or other charge levied by anyone on Client, for any failure of anyone to honor a transaction or for any other adverse
action taken or not taken by any other party in connection with the Services. Under no circumstances shall PAN be liable for any special,
incidental, consequential, exemplary, or punitive damages.

PAN will provide Client an internet login with a login name and password for viewing the funds held in the Custodial Account and all transactions
related to Client via a protected website. Use of Client’s passcode, password or any other form of identification designated by Client in any
transaction constitutes and will be accepted as Client’s electronic signature, as that term is used in the federal Electronic Signature in Global
and National Commerce law and other applicable laws.

Client’s funds are held in the Custodial Account pending Client’s instructions for disbursement. Client has sole authority to authorize
disbursements or transfers. You expressly authorize PAN to rely on your instructions for this purpose whether transmitted directly by you, via
the Service Provider or by a third party you have authorized in whatever form provided, including but not limited to any instructions provided
via email, PAN’s website, E-signature, or other writing, verbally, by voicemail or any other means of communication. If Client is more than one
person, PAN may act upon receipt the instructions of either person; however, if conflicting instructions are received before any action has
been taken, PAN may in its sole discretion refrain from taking any action until it receives joint instructions from all Clients or a

court order directing further action. Client agrees that PAN shall have no right or obligation to control, direct, or change any disbursement
instructions provided by Client other than as expressly provided by this Agreement.



Client may revoke any prior payment authorization at any time before such payment has been initiated by completing and submitting a
Revocation of Recurring Payment Authorization form to PAN by email or mail. See PAN’s Contact Information below.

PAN or Client may terminate this Agreement upon delivery of written notice at any time. Upon termination of this Agreement for any reason,
PAN shall arrange for Client’s remaining funds, apart from any funds due to be paid to the Service Provider or any other person or entity as a
result of the occurrence of specified events prior to delivery of the termination notice, to be transmitted from the Custodial Account to the
Designated Account.

Client agrees that all disclosures, account activity, notifications and any other communications related to the Services may be distributed to
Client by electronic mail or through PAN’s software services. Client acknowledges that Client is able to electronically receive, download and
print such information and communications. If Client is unable to communicate electronically for any reason, Client agrees to notify PAN
immediately, and reasonable alternative means of communication will be established in accordance with applicable law.

Client understands and agrees that all calls to and from PAN are monitored and recorded. Client verifies that the telephone and cellular phone
numbers and email addresses shown below presently belong to Client. Client consents to receive emails, prerecorded messages and/or auto
dialed calls (including text messages) relating to this Agreement and the Services. These communications may be made by PAN or its agents,
even if your phone number is registered on any state or federal “Do Not Call” list. You may incur a charge for such calls by your telephone
carrier. PAN may obtain and contact email addresses and phone numbers provided by you directly or obtained through other lawful means.
Your consent to this provision is not required as a condition of entering into this Agreement, and you may opt out fromEXHIBIT 11
                                                                                                                         consenting to these
                                                                                                                          Page 48
provisions by contacting PAN in writing at PAN’s Contact Information below.
                                                          ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
You agree to provide notice within 30 days of any change to your email address or phone numbers by writing to PAN’s Contact Information
below.       Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 62 of 108 Page ID
ARBITRATION OF DISPUTES - IMPORTANT NOTICE AFFECTING YOUR RIGHTS
                                                                      #:3155
You agree that any controversy, claim or dispute between the parties arising out of or relating to this Agreement, or to any of the services
provided pursuant to this Agreement, or the breach, termination, enforcement, interpretation or validity thereof, including the determination of
the scope or applicability of this Agreement to arbitrate, shall be determined by binding arbitration conducted in the federal judicial district where
the Client resides. The parties agree that this arbitration provision shall be governed by and enforceable under the Federal Arbitration Act.
Otherwise, parties agree that the laws of the Client’s state of residence shall govern any dispute between them. The parties agree the
arbitration shall be conducted before a single arbitrator pursuant to the rules and procedures of the American Arbitration Association ("AAA").
The arbitrator shall be neutral and independent and shall comply with the AAA code of ethics. Any award rendered by the arbitrator shall be final
and shall not be subject to vacation or modification. Judgment on the award made by the arbitrator may be entered in any court having
jurisdiction over the parties. The parties agree that either party may bring claims against the other only in his/her or its individual capacity and
not as a plaintiff or class member in any purported class or representative proceeding. Further, the parties agree that the arbitrator may not
consolidate proceedings of more than one person's claims, and may not otherwise preside over any form of representative or class
proceeding. The parties shall share the costs of the arbitration, not including attorney’s fees or expert witness expenses, equally. If the
consumer's share of the costs is greater than two-thousand dollars ($2,000.00), PAN will pay the consumer’s share of any costs in excess of
that amount. In the event that a party fails to proceed with arbitration, unsuccessfully challenges the arbitrator's award, or fails to comply with
the arbitrator's award, the other party shall be entitled to obtain costs of suit, including any reasonable attorney’s fees incurred for having to
compel arbitration or defend or enforce the award. Binding Arbitration means that both parties give up the right to a trial by a jury. It also
means that both parties give up the right to appeal from the arbitrators ruling, except for a narrow range of issues that can or may be
appealed. It also means that discovery may be severely limited by the arbitrator. This section and the requirement to arbitrate shall survive
any termination of this Agreement.

This Agreement constitutes the entire agreement between Client and PAN. No modifications, variations or waivers of any provisions of this
Agreement shall be deemed valid unless in writing and signed by Client and PAN.




                                                                                                                          EXHIBIT 11
                                                                                                                            Page 49
                                                          ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
Client Last Name        First Name                            Social Security        Date of Birth
             Case 8:19-cv-02109-JVS-ADS Document  57-2 Filed 11/14/19
                                         Middle Name/Initial
                                                                        Page 63 of 108   Page ID
Crumble                                          #:3156                                   1962


                                                                                 Social Security
Co-Client Last Name      First Name                  Middle Name/Initial                                     Date of Birth
                                                                                 --


Address                                                           City, State, ZIP

                                PA 19143                                       , PA, 19143


Phone                                      Email                                         Mothers Maiden Name

        -7041                                            @yahoo.com


Authorized Service Provider/Agent                                 Account ID

Arete Financial                                                   AR--1



Client Signature                             Date    09/15/2018                  Notifications To Payment Automation Network

                                                                                 Email: Clients@paymentautomation.net

                                                                                 Phone: (800)813-3740
Co-Cleint
                   {COSIGNATURE}             Date    {COSIGNDATE}                Fax: (866)600-2703
Signature
                                                                                 Portal: https://client.paymentautomation.net




                                                                                                                EXHIBIT 11
                                                                                                                  Page 50
                                                    ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
             Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 64 of 108 Page ID
                                                #:3157
                                                                                                          CUSTODIAL ACCOUNT AGREEMENT

                                                                                                                                              Ver 10/30/2014



AUTHORIZATION FOR RECURRING DIRECT PAYMENTS I (we) hereby authorize PAN to initiate ACH debit entries from the account at the
depository financial institution named below and to debit the same to such account. I (we) acknowledge that the origination of ACH transactions
to the account must comply with the provisions of U.S. law. This authorization is to remain in full force and effect until PAN has received
written notification from me (or either of us) of its termination at least three (3) days to afford PAN and DEPOSITORY a reasonable
opportunity to act on it, or until the scheduled debits are completed.er than three (3) days to afford PAN and DEPOSITORY a reasonable
opportunity to act on it, or until the scheduled debits are completed.


                                                     Routing
Bank Name              Account Number                        Account Type                Account Fees
                                                     Number

                                                                                         I authorize PAN to charge my Primary Financial
Authorizing Person's Name (as it appears on check)                                       Institution or my Custodial Account in accordance with
                                                                                         the following fees for services rendered.



                                                                                                                        Monthly Custodial Account:$6.75
Address, City, State, Zip (as it appears on check)
                                                                                                                           Unauthorized Returns:$35.00
                                    PA 19143,                  PA, 19143
                                                                                                                                    Stop Payment:$25.00

                                                                                                                                  Return Item Fee: $0.00


Recurring Debit Authorization                        Effective Date (Date of First Debit) Fees for Disbursements per occurrence or any
                                                                                          other appropriate service.
$599.00                                              Oct 15, 2018



                                                                                                                                  ACH Credit:$5.00
The specific debits to my account authorized herein may only post on or after the
EFFECTIVE DATE listed in the attached payment schedule. This authorization is to                                      ACH Debit/Check by phone:$5.00

remain in full force and effect until PAN has received written notification from me of
                                                                                                                Overnight Check, Wire Transfer:   $25.00
termination in such time and in such manner as to afford PAN a reasonable
opportunity to act.                                                                                                            2-Day Check:$10.00

                                                                                                                               USPS Check: $5.00


                                                                                         Notifications To Payment Automation Network
Client Signature       09/15/2018                    DATE     Sep 15, 2018
                                                                                         Email: Clients@paymentautomation.net

                                                                                         Phone: (800)813-3740

                                                                                         Fax: (866)600-2703
CO-Client
                                                     DATE     Sep 15, 2018
Signature                                                                                Portal: https://client.paymentautomation.net


                                                                Payment Schedule

    #           Date                     Enrollment Fee                      Monthly Service Fee                          Total Payment
1       Oct 15, 2018            $99.83                              $0.00                                         $99.83
2       Nov 15, 2018            $99.83                              $0.00                                         $99.83
3       Dec 17, 2018            $99.83                              $0.00                                         $99.83
4       Jan 15, 2019            $99.83                              $0.00                                         $99.83EXHIBIT 11
                                                                                                                            Page 51
                                $599.00                             $9,126.00                                     $9,725.00
                                                            ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
     #           Date                Enrollment Fee            Monthly Service Fee              Total Payment
5
              Case
         Feb 15, 2019
                      8:19-cv-02109-JVS-ADS
                              $99.83
                                                 Document 57-2
                                                       $0.00
                                                                Filed 11/14/19 Page 65 of 108
                                                                                          $99.83
                                                                                                 Page ID
                                                         #:3158
6        Mar 15, 2019      $99.85                     $0.00                                 $99.85
7        Apr 15, 2019      $0.00                      $39.00                                $39.00
8        May 15, 2019      $0.00                      $39.00                                $39.00
9        Jun 17, 2019      $0.00                      $39.00                                $39.00
10       Jul 15, 2019      $0.00                      $39.00                                $39.00
11       Aug 15, 2019      $0.00                      $39.00                                $39.00
12       Sep 16, 2019      $0.00                      $39.00                                $39.00
13       Oct 15, 2019      $0.00                      $39.00                                $39.00
14       Nov 15, 2019      $0.00                      $39.00                                $39.00
15       Dec 16, 2019      $0.00                      $39.00                                $39.00
16       Jan 15, 2020      $0.00                      $39.00                                $39.00
17       Feb 18, 2020      $0.00                      $39.00                                $39.00
18       Mar 16, 2020      $0.00                      $39.00                                $39.00
19       Apr 15, 2020      $0.00                      $39.00                                $39.00
20       May 15, 2020      $0.00                      $39.00                                $39.00
21       Jun 15, 2020      $0.00                      $39.00                                $39.00
22       Jul 15, 2020      $0.00                      $39.00                                $39.00
23       Aug 17, 2020      $0.00                      $39.00                                $39.00
24       Sep 15, 2020      $0.00                      $39.00                                $39.00
25       Oct 15, 2020      $0.00                      $39.00                                $39.00
26       Nov 16, 2020      $0.00                      $39.00                                $39.00
27       Dec 15, 2020      $0.00                      $39.00                                $39.00
28       Jan 15, 2021      $0.00                      $39.00                                $39.00
29       Feb 16, 2021      $0.00                      $39.00                                $39.00
30       Mar 15, 2021      $0.00                      $39.00                                $39.00
31       Apr 15, 2021      $0.00                      $39.00                                $39.00
32       May 17, 2021      $0.00                      $39.00                                $39.00
33       Jun 15, 2021      $0.00                      $39.00                                $39.00
34       Jul 15, 2021      $0.00                      $39.00                                $39.00
35       Aug 16, 2021      $0.00                      $39.00                                $39.00
36       Sep 15, 2021      $0.00                      $39.00                                $39.00
37       Oct 15, 2021      $0.00                      $39.00                                $39.00
38       Nov 15, 2021      $0.00                      $39.00                                $39.00
39       Dec 15, 2021      $0.00                      $39.00                                $39.00
40       Jan 18, 2022      $0.00                      $39.00                                $39.00
41       Feb 15, 2022      $0.00                      $39.00                                $39.00
42       Mar 15, 2022      $0.00                      $39.00                                $39.00
43       Apr 15, 2022      $0.00                      $39.00                                $39.00
44       May 16, 2022      $0.00                      $39.00                                $39.00
45       Jun 15, 2022      $0.00                      $39.00                                $39.00
46       Jul 15, 2022      $0.00                      $39.00                                $39.00
47       Aug 15, 2022      $0.00                      $39.00                                $39.00
48       Sep 15, 2022      $0.00                      $39.00                                $39.00
49       Oct 17, 2022      $0.00                      $39.00                                $39.00
50       Nov 15, 2022      $0.00                      $39.00                                $39.00
51       Dec 15, 2022      $0.00                      $39.00                                $39.00
52       Jan 17, 2023      $0.00                      $39.00                                $39.00
53       Feb 15, 2023      $0.00                      $39.00                                $39.00
54       Mar 15, 2023      $0.00                      $39.00                                $39.00EXHIBIT 11
                                                                                                     Page 52
                           $599.00                    $9,126.00                             $9,725.00
                                              ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
     #            Date              Enrollment Fee            Monthly Service Fee              Total Payment
55
               Case
         Apr 17, 2023
                      8:19-cv-02109-JVS-ADS
                              $0.00
                                                Document 57-2
                                                      $39.00
                                                               Filed 11/14/19 Page 66 of 108
                                                                                         $39.00
                                                                                                Page ID
                                                        #:3159
56       May 15, 2023      $0.00                      $39.00                                $39.00
57       Jun 15, 2023      $0.00                      $39.00                                $39.00
58       Jul 17, 2023      $0.00                      $39.00                                $39.00
59       Aug 15, 2023      $0.00                      $39.00                                $39.00
60       Sep 15, 2023      $0.00                      $39.00                                $39.00
61       Oct 16, 2023      $0.00                      $39.00                                $39.00
62       Nov 15, 2023      $0.00                      $39.00                                $39.00
63       Dec 15, 2023      $0.00                      $39.00                                $39.00
64       Jan 16, 2024      $0.00                      $39.00                                $39.00
65       Feb 15, 2024      $0.00                      $39.00                                $39.00
66       Mar 15, 2024      $0.00                      $39.00                                $39.00
67       Apr 15, 2024      $0.00                      $39.00                                $39.00
68       May 15, 2024      $0.00                      $39.00                                $39.00
69       Jun 17, 2024      $0.00                      $39.00                                $39.00
70       Jul 15, 2024      $0.00                      $39.00                                $39.00
71       Aug 15, 2024      $0.00                      $39.00                                $39.00
72       Sep 16, 2024      $0.00                      $39.00                                $39.00
73       Oct 15, 2024      $0.00                      $39.00                                $39.00
74       Nov 15, 2024      $0.00                      $39.00                                $39.00
75       Dec 16, 2024      $0.00                      $39.00                                $39.00
76       Jan 15, 2025      $0.00                      $39.00                                $39.00
77       Feb 18, 2025      $0.00                      $39.00                                $39.00
78       Mar 17, 2025      $0.00                      $39.00                                $39.00
79       Apr 15, 2025      $0.00                      $39.00                                $39.00
80       May 15, 2025      $0.00                      $39.00                                $39.00
81       Jun 16, 2025      $0.00                      $39.00                                $39.00
82       Jul 15, 2025      $0.00                      $39.00                                $39.00
83       Aug 15, 2025      $0.00                      $39.00                                $39.00
84       Sep 15, 2025      $0.00                      $39.00                                $39.00
85       Oct 15, 2025      $0.00                      $39.00                                $39.00
86       Nov 17, 2025      $0.00                      $39.00                                $39.00
87       Dec 15, 2025      $0.00                      $39.00                                $39.00
88       Jan 15, 2026      $0.00                      $39.00                                $39.00
89       Feb 17, 2026      $0.00                      $39.00                                $39.00
90       Mar 16, 2026      $0.00                      $39.00                                $39.00
91       Apr 15, 2026      $0.00                      $39.00                                $39.00
92       May 15, 2026      $0.00                      $39.00                                $39.00
93       Jun 15, 2026      $0.00                      $39.00                                $39.00
94       Jul 15, 2026      $0.00                      $39.00                                $39.00
95       Aug 17, 2026      $0.00                      $39.00                                $39.00
96       Sep 15, 2026      $0.00                      $39.00                                $39.00
97       Oct 15, 2026      $0.00                      $39.00                                $39.00
98       Nov 16, 2026      $0.00                      $39.00                                $39.00
99       Dec 15, 2026      $0.00                      $39.00                                $39.00
100      Jan 15, 2027      $0.00                      $39.00                                $39.00
101      Feb 16, 2027      $0.00                      $39.00                                $39.00
102      Mar 15, 2027      $0.00                      $39.00                                $39.00
103      Apr 15, 2027      $0.00                      $39.00                                $39.00
104      May 17, 2027      $0.00                      $39.00                                $39.00EXHIBIT 11
                                                                                                     Page 53
                           $599.00                    $9,126.00                             $9,725.00
                                              ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
  #            Date              Enrollment Fee            Monthly Service Fee              Total Payment
105
           Case
      Jun 15, 2027
                   8:19-cv-02109-JVS-ADS
                           $0.00
                                             Document 57-2
                                                   $39.00
                                                            Filed 11/14/19 Page 67 of 108
                                                                                      $39.00
                                                                                             Page ID
                                                     #:3160
106   Jul 15, 2027      $0.00                      $39.00                                $39.00
107   Aug 16, 2027      $0.00                      $39.00                                $39.00
108   Sep 15, 2027      $0.00                      $39.00                                $39.00
109   Oct 15, 2027      $0.00                      $39.00                                $39.00
110   Nov 15, 2027      $0.00                      $39.00                                $39.00
111   Dec 15, 2027      $0.00                      $39.00                                $39.00
112   Jan 18, 2028      $0.00                      $39.00                                $39.00
113   Feb 15, 2028      $0.00                      $39.00                                $39.00
114   Mar 15, 2028      $0.00                      $39.00                                $39.00
115   Apr 17, 2028      $0.00                      $39.00                                $39.00
116   May 15, 2028      $0.00                      $39.00                                $39.00
117   Jun 15, 2028      $0.00                      $39.00                                $39.00
118   Jul 17, 2028      $0.00                      $39.00                                $39.00
119   Aug 15, 2028      $0.00                      $39.00                                $39.00
120   Sep 15, 2028      $0.00                      $39.00                                $39.00
121   Oct 16, 2028      $0.00                      $39.00                                $39.00
122   Nov 15, 2028      $0.00                      $39.00                                $39.00
123   Dec 15, 2028      $0.00                      $39.00                                $39.00
124   Jan 15, 2029      $0.00                      $39.00                                $39.00
125   Feb 15, 2029      $0.00                      $39.00                                $39.00
126   Mar 15, 2029      $0.00                      $39.00                                $39.00
127   Apr 16, 2029      $0.00                      $39.00                                $39.00
128   May 15, 2029      $0.00                      $39.00                                $39.00
129   Jun 15, 2029      $0.00                      $39.00                                $39.00
130   Jul 16, 2029      $0.00                      $39.00                                $39.00
131   Aug 15, 2029      $0.00                      $39.00                                $39.00
132   Sep 17, 2029      $0.00                      $39.00                                $39.00
133   Oct 15, 2029      $0.00                      $39.00                                $39.00
134   Nov 15, 2029      $0.00                      $39.00                                $39.00
135   Dec 17, 2029      $0.00                      $39.00                                $39.00
136   Jan 15, 2030      $0.00                      $39.00                                $39.00
137   Feb 15, 2030      $0.00                      $39.00                                $39.00
138   Mar 15, 2030      $0.00                      $39.00                                $39.00
139   Apr 15, 2030      $0.00                      $39.00                                $39.00
140   May 15, 2030      $0.00                      $39.00                                $39.00
141   Jun 17, 2030      $0.00                      $39.00                                $39.00
142   Jul 15, 2030      $0.00                      $39.00                                $39.00
143   Aug 15, 2030      $0.00                      $39.00                                $39.00
144   Sep 16, 2030      $0.00                      $39.00                                $39.00
145   Oct 15, 2030      $0.00                      $39.00                                $39.00
146   Nov 15, 2030      $0.00                      $39.00                                $39.00
147   Dec 16, 2030      $0.00                      $39.00                                $39.00
148   Jan 15, 2031      $0.00                      $39.00                                $39.00
149   Feb 17, 2031      $0.00                      $39.00                                $39.00
150   Mar 17, 2031      $0.00                      $39.00                                $39.00
151   Apr 15, 2031      $0.00                      $39.00                                $39.00
152   May 15, 2031      $0.00                      $39.00                                $39.00
153   Jun 16, 2031      $0.00                      $39.00                                $39.00
154   Jul 15, 2031      $0.00                      $39.00                                $39.00EXHIBIT 11
                                                                                                  Page 54
                        $599.00                    $9,126.00                             $9,725.00
                                           ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
  #           Date               Enrollment Fee            Monthly Service Fee              Total Payment
155
           Case
      Aug 15, 2031
                   8:19-cv-02109-JVS-ADS
                           $0.00
                                             Document 57-2
                                                   $39.00
                                                            Filed 11/14/19 Page 68 of 108
                                                                                      $39.00
                                                                                             Page ID
                                                     #:3161
156   Sep 15, 2031      $0.00                      $39.00                                $39.00
157   Oct 15, 2031      $0.00                      $39.00                                $39.00
158   Nov 17, 2031      $0.00                      $39.00                                $39.00
159   Dec 15, 2031      $0.00                      $39.00                                $39.00
160   Jan 15, 2032      $0.00                      $39.00                                $39.00
161   Feb 16, 2032      $0.00                      $39.00                                $39.00
162   Mar 15, 2032      $0.00                      $39.00                                $39.00
163   Apr 15, 2032      $0.00                      $39.00                                $39.00
164   May 17, 2032      $0.00                      $39.00                                $39.00
165   Jun 15, 2032      $0.00                      $39.00                                $39.00
166   Jul 15, 2032      $0.00                      $39.00                                $39.00
167   Aug 16, 2032      $0.00                      $39.00                                $39.00
168   Sep 15, 2032      $0.00                      $39.00                                $39.00
169   Oct 15, 2032      $0.00                      $39.00                                $39.00
170   Nov 15, 2032      $0.00                      $39.00                                $39.00
171   Dec 15, 2032      $0.00                      $39.00                                $39.00
172   Jan 17, 2033      $0.00                      $39.00                                $39.00
173   Feb 15, 2033      $0.00                      $39.00                                $39.00
174   Mar 15, 2033      $0.00                      $39.00                                $39.00
175   Apr 15, 2033      $0.00                      $39.00                                $39.00
176   May 16, 2033      $0.00                      $39.00                                $39.00
177   Jun 15, 2033      $0.00                      $39.00                                $39.00
178   Jul 15, 2033      $0.00                      $39.00                                $39.00
179   Aug 15, 2033      $0.00                      $39.00                                $39.00
180   Sep 15, 2033      $0.00                      $39.00                                $39.00
181   Oct 17, 2033      $0.00                      $39.00                                $39.00
182   Nov 15, 2033      $0.00                      $39.00                                $39.00
183   Dec 15, 2033      $0.00                      $39.00                                $39.00
184   Jan 16, 2034      $0.00                      $39.00                                $39.00
185   Feb 15, 2034      $0.00                      $39.00                                $39.00
186   Mar 15, 2034      $0.00                      $39.00                                $39.00
187   Apr 17, 2034      $0.00                      $39.00                                $39.00
188   May 15, 2034      $0.00                      $39.00                                $39.00
189   Jun 15, 2034      $0.00                      $39.00                                $39.00
190   Jul 17, 2034      $0.00                      $39.00                                $39.00
191   Aug 15, 2034      $0.00                      $39.00                                $39.00
192   Sep 15, 2034      $0.00                      $39.00                                $39.00
193   Oct 16, 2034      $0.00                      $39.00                                $39.00
194   Nov 15, 2034      $0.00                      $39.00                                $39.00
195   Dec 15, 2034      $0.00                      $39.00                                $39.00
196   Jan 15, 2035      $0.00                      $39.00                                $39.00
197   Feb 15, 2035      $0.00                      $39.00                                $39.00
198   Mar 15, 2035      $0.00                      $39.00                                $39.00
199   Apr 16, 2035      $0.00                      $39.00                                $39.00
200   May 15, 2035      $0.00                      $39.00                                $39.00
201   Jun 15, 2035      $0.00                      $39.00                                $39.00
202   Jul 16, 2035      $0.00                      $39.00                                $39.00
203   Aug 15, 2035      $0.00                      $39.00                                $39.00
204   Sep 17, 2035      $0.00                      $39.00                                $39.00EXHIBIT 11
                                                                                                  Page 55
                        $599.00                    $9,126.00                             $9,725.00
                                           ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
  #            Date              Enrollment Fee            Monthly Service Fee              Total Payment
205
            Case
      Oct 15, 2035
                   8:19-cv-02109-JVS-ADS
                           $0.00
                                             Document 57-2
                                                   $39.00
                                                            Filed 11/14/19 Page 69 of 108
                                                                                      $39.00
                                                                                             Page ID
                                                     #:3162
206   Nov 15, 2035      $0.00                      $39.00                                $39.00
207   Dec 17, 2035      $0.00                      $39.00                                $39.00
208   Jan 15, 2036      $0.00                      $39.00                                $39.00
209   Feb 15, 2036      $0.00                      $39.00                                $39.00
210   Mar 17, 2036      $0.00                      $39.00                                $39.00
211   Apr 15, 2036      $0.00                      $39.00                                $39.00
212   May 15, 2036      $0.00                      $39.00                                $39.00
213   Jun 16, 2036      $0.00                      $39.00                                $39.00
214   Jul 15, 2036      $0.00                      $39.00                                $39.00
215   Aug 15, 2036      $0.00                      $39.00                                $39.00
216   Sep 15, 2036      $0.00                      $39.00                                $39.00
217   Oct 15, 2036      $0.00                      $39.00                                $39.00
218   Nov 17, 2036      $0.00                      $39.00                                $39.00
219   Dec 15, 2036      $0.00                      $39.00                                $39.00
220   Jan 15, 2037      $0.00                      $39.00                                $39.00
221   Feb 16, 2037      $0.00                      $39.00                                $39.00
222   Mar 16, 2037      $0.00                      $39.00                                $39.00
223   Apr 15, 2037      $0.00                      $39.00                                $39.00
224   May 15, 2037      $0.00                      $39.00                                $39.00
225   Jun 15, 2037      $0.00                      $39.00                                $39.00
226   Jul 15, 2037      $0.00                      $39.00                                $39.00
227   Aug 17, 2037      $0.00                      $39.00                                $39.00
228   Sep 15, 2037      $0.00                      $39.00                                $39.00
229   Oct 15, 2037      $0.00                      $39.00                                $39.00
230   Nov 16, 2037      $0.00                      $39.00                                $39.00
231   Dec 15, 2037      $0.00                      $39.00                                $39.00
232   Jan 15, 2038      $0.00                      $39.00                                $39.00
233   Feb 15, 2038      $0.00                      $39.00                                $39.00
234   Mar 15, 2038      $0.00                      $39.00                                $39.00
235   Apr 15, 2038      $0.00                      $39.00                                $39.00
236   May 17, 2038      $0.00                      $39.00                                $39.00
237   Jun 15, 2038      $0.00                      $39.00                                $39.00
238   Jul 15, 2038      $0.00                      $39.00                                $39.00
239   Aug 16, 2038      $0.00                      $39.00                                $39.00
240   Sep 15, 2038      $0.00                      $39.00                                $39.00
                        $599.00                    $9,126.00                             $9,725.00




                                                                                              EXHIBIT 11
                                                                                                Page 56
                                           ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
                                         Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 70 of 108 Page ID
                                                                            #:3163




                                   E-Signature Completion Certificate

                                   Document ID                               5108987
                                   Document GUID                             4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e
                                   Document Title                            1FILE.ORG-NEW PACKAGE-CC*
                                   Sender IP                                 45.64.221.253
                                   Number of Signers                         1
                                   Signer Email                                              @yahoo.com
                                   Signer IP                                 68.82.225.68
                                   Timestamp                                 2018-09-15T11:54:47-05:00
                                   Document Hash                             57b15582fb74b6b0e8b1436232ed3491


                                   Document Audit

                                         Sent at 2018-09-15T11:21:01-05:00 from IP 45.64.221.253
                                         Delivered to      Crumble                @yahoo.com at 2018-09-15T11:45:59-05:00 from 68.82.225.68
                                         Adopted Signature at 2018-09-15T11:46:08-05:00 from 68.82.225.68
                                         Completed Signing at 2018-09-15T11:54:47-05:00 from 68.82.225.68
                                         PDF Generated at 2018-09-15T11:54:47-05:00


                                   User Agent

                                   Mozilla/5.0 (Linux; Android 4.4.4; N817 Build/KTU84P) AppleWebKit/537.36 (KHTML, like Gecko) Version/4.0 Chrome/33.0.0.0
                                   Mobile Safari/537.36




                                                                                                                                             EXHIBIT 11
                                                                                                                                               Page 57

Powered by TCPDF (www.tcpdf.org)
                                                                                  ID: 4de1e1c4-362b-1c4a-1c25-0b41ea7a3f5e Signed: 2018-09-15T11:54:47-05:00
Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 71 of 108 Page ID
                                   #:3164




                           EXHIBIT 12
                           Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 72 of 108 Page ID
                                                              #:3165




From: Andy@lfile.org <Andy@lfile .org>
Sent: Monday, November 04, 2019 1:58 PM
To: ly.phu@aretefinancialfreedom .com
Subject: RE : New Note Created On File : -GRAY -~090

What the .. we don't have that.


From: ly.phu@aretefinancialfreedom .com <ly.phu@aretefinancialfreedom.com >
Sent: Monday, November 04, 2019 1:42 PM
To: Andy@lfile .org
Subject: RE: New Note Created On F i l e : - GRAY - - 0 9 0

You guys should have the option to put for the LAST ( last day of the month )




                                                                                1
                                                                                                            EXHIBIT 12
                                                                                                              Page 58
                                                      Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 73 of 108 Page ID
                                                                                         #:3166
r   J   NS=T'Od .:i.y S • 4cccun ng                                                                                                                            ><   j   ·~ At rch.rnt P:Cft;tl              ><   T~ ..iGRAY· Enrcllmer          X   0                                l -   @~.1.:e:.

f-      -:     C      Iii a.re te.d ebtp ayp ro .co m/index.php?module=-tool~&pJge:\°!nrollmenteit.plan==-1 779194&cid=-284257067




          Program Checklist                                                                    Program Snapsh ot

                                                                                               Total Debt                      Total Fees   Re-payment Plan                                                        Paym ent
          Enrollment Plan s                                                                    $36,146.00                      $750.00      Revised Pay As You Earn (REPAVE) $59.17@ 120 months
          Choose Bose Pion
          Areie A.muate-P      n-                                                              Choose Debts To Enroll
          P.:iym ent Me thod                           cc •                                                  Creditor                                                                                                         Type                      Amount
          Edit Program l e ngth                        -Seietl-                                 ~            DIRECT STAFFORD UNSUBSIDIZED                                                                                     Student Loan              $£01 .00
          Fee Down P~ y m e nt                         s                                        ~            DIRECT STAFFORD SUS,IDIZEO                                                                                       S10aen1 Loan              $171 00
                                                                                                ~I           DIRECT STAFFORD UNSUB IDIZED                                                                                     Studenl Loan              $ 4,.129 .00
          Enroll m ent Fee                             $750 00         3 Paymenls ,.
                                                                                                RI           DIRECT 'TAFFORD UNSUBSIDIZED                                                                                     Sluden! Loan              St .D32.00
          Monthly Service Fee                         f~3fOJ   ·=                               l!'.J        DIRECT STAFFORD UNSUBSIDIZED                                                                                     Stuc:en Loan              S.1.875.00
                                                                                                1"-1         DIRECT STAFFORD SUBSIDIZED                                                                                       Stucen; Loan              S.J.732.00
          First Payment Date                                                                    ;;           011'-ECT STAFFCP.O SUBSIDIZED                                                                                    Stuc:ent Loan             S<i.151.00
          l'.fl D1103!2019                                                                      ~            DIRECT STllFFCRv UNSU5SIDIZEv                                                                                    Stu~ent   Lo.an           S4 ,J 49.00
                                                                                                I~           DIRECT STAFFORD SUBSIDIZED                                                                                       Stu.aen Loan              $.l,135.00
          Recurring Start Date                                                                  l"'I         DIRECTS AFFORD UNSUBSIDIZED                                                                                      Stucten Loan              SSi.571 .00
          o 0210312019
                                                                                               Payment Schedu le
             Custom Oates


                                                                                                        #               DOU!                  Enrollment Fee                              M onthly Servi ce Fee-                     Tot.11 P.lyment    Acct 831.lnce
         FREQUENCY               OCCURRENCE
          -~
          f.lontnfy
                       --         -~elecr-   T

                                  13tn
                                                                                                                    Jan 03. 2019              5250.00                                     S0.00                                      $250.00            sooo
          Payme nt Gal ;~;~                                                                                             Fc:OO-l , 2019        S250 0D                                     so oo                                      525000             sooo
                                  16th
             vyaPay               1ith                                                                  3               1.tar 04 2019         S250.00                                     S0.00                                      >250.00            $000
                                  1$1h
          Choose Com 19m                         te                                                                 Apr 03, 201 9             so()<)                                      '.S-3900                                   S39 00             $0.00
                                  2Chn
                                                                                                        5               l.1ay 03, 2019        SD DO                                       S39Cll                                     S3900              sooo

                                                                                                                    Jun 03. 2019              SD 00                                       S39C-O                                     S.3900             SOCIO

                                                                                                                        Jul 03. 2019          S0.00                                       $39.0D                                     $39.00             S0.00

                                                                                                                        Aug 05. 2019          sooo                                        53900                                      539.00             sooo

                                                                                                        9               5ep 03. 2019          SO.DO                                       $39.00                                     $39.00             so.co
                                                                                                        10              Oc! 03. 201 9         S0.00                                        $39.CO                                    S39.00             S0.00

Fl                                                                                                      11              Nov OS. 2019          sooo                                         539.00                                    $39.00             .so.co
From: Andy@1fi le.org
Sent: Monday, November 04, 2019 1:30 PM
To: ly.phu@aretefinancialfreedom.com
Subject: RE: New Note Created On File:-                                                                      GRAY - -2090

Client had her monthly payments set on the 31st and because some month's don't have a " 31st" , it gets processed in the beginning of the next month.



                                                                                                                                                               2
                                                                                                                                                                                                                                                                        EXHIBIT 12
                                                                                                                                                                                                                                                                          Page 59
                          Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 74 of 108 Page ID
                                                             #:3167
From: ly.phu@aretefinancialfreedom.com <ly.phu@aretefinancialfreedom.com >
Sent: Monday, November 04, 2019 1:08 PM
To: andy@lfile .org
Subject: New Note Created On File-GRAY --2090

Note Type: General
Entered By: Billing Account
Notified: andy@lfile .org



enrollment needs to be updated to the END of each month .. Some are open for the 1st




                                                                             3
                                                                                                           EXHIBIT 12
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                           EXHIBIT 13
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                                                #:3169



                                     5862 Bolsa Ave, Suite 102, Huntington Beach CA 92649
                                                      Direct (844) 593-8072
                                                       Fax (714) 242-6951
                                                     processing@1file.org

                                                       SERVICE AGREEMENT

This service agreement (“Agreement”) is made and entered into this 10th day of July, 2015, by and between 1FILE.org
(“1FILE.ORG”), and        Regan hereinafter referred to as ("Client"), whose address is
     CA 91411, with reference to the following.

                                                              RECITALS

    A. 1FILE.ORG provides document processing services to individuals with federal student loans who are seeking to consolidate
    the existing loans through programs offered by the Department of Education (“Federal Student Loan Consolidation”); and

    B. Client requests 1FILE.ORG perform the services outlined below to assist them in submitting a new loan application to the
    Department of Education (”DOE”);

    C. In consideration of the foregoing covenants and conditions set forth, below, 1FILE.ORG and Client do hereby agree to the
    following:

1. Client Loan Service Definition.

1FILE.ORG provides document processing and support services to Clients applying for a Federal Student Loan Consolidation with
the DOE. 1FILE.ORG will provide (a) a review of the Client’s current financial situation; (b) analyze and review available Federal
Student Loan Consolidation programs offered by the DOE based on Client’s current financial situation; (c) following Client’s
selection of a program, compile information and submit on the Client’s behalf a Federal Student Loan Consolidation application with
the DOE (the “Services”).

2. Nature of Service; No Legal or Tax Advice.

1FILE.ORG is a private company not affiliated with any government agency. Client acknowledges that the programs that Clients is
seeking are available without cost to Client. Clients has retained 1FILE.ORG to perform work and processes that the Client could
have chosen to do themselves. The Client acknowledges that 1FILE.ORG is not a law firm, and that no legal or tax advice can or will
be provided under this agreement. Client acknowledges and agrees that the Services do not consist of any renegotiation, restructure,
reduction or other adjustment of the terms of any existing loan or debt.

3. Rehabilitation; Garnishment.

If any of the Client’s existing federal student loans are in default and/or the Client is being garnished by any lender, 1FILE.ORG will
provide Client the option of rehabilitating said loans. Once the rehabilitation process is completed, 1FILE.ORG will consolidate the
Client’s federal student loans through the DOE. The rehabilitation of a loan in default will require an additional fee.

4. Fees.

Client agrees to pay 1FILE.ORG a Service fee of $399.00 for providing the Services. In addition Client agrees to pay 1FILE.ORG a
Monthly Maintenance fee of: $39.00. The Service fee will only be earned after Client is approved for a program through DOE. If
Client’s Federal Student Loan application is not approved for a program through DOE, 1FILE.ORG will reimburse 100% of all
                                                                                                               EXHIBIT 13
Clients' fees collected. Client also understands that a third party payment processing company will be pulling the Client’s Service fee
                                                                                                                  Page 61
and Monthly Maintenance fee payments.
5. Refund.
              Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 77 of 108 Page ID
                                                                 #:3170 and cannot guarantee a payment or loan terms quoted by the
Client understands that 1FILE.ORG is a document processing company
DOE website. However, 1FILE.ORG guarantees that Client will receive a Federal Student Loan Consolidation, or a repayment plan
using current lenders, through the DOE subject to the following conditions: (1) Client’s existing loans are original debts, and have not
been previously consolidated or restructured (2) Client fully cooperates with 1FILE.ORG providing all information requested by
1FILE.ORG and DOE and that such information is complete and accurate; and (3) Client’s loan application is not disqualified by the
DOE due to issue or characteristic related to Client. All refund requests must be made within 90 days of any loan application denial
by the DOE. 1FILE.ORG will reimburse 100% of the Service fee paid by Client.

6. Process.

Following receipt of all necessary information from Client and the first payment has been made, the Services will commence.
1FILE.ORG relies on the applicable lender(s) and 1FILE.ORG cannot be held liable for delayed completion due to delays in obtaining
information or approvals from third parties or the DOE. The average completion time to process a Federal Student Loan
Consolidation through 1FILE.ORG is approximately ninety (90) days, unless a rehabilitation is required for the Client, or a
forbearance plan is necessary.

7. Client Warranty.

Client expressly represents and warrants that they will provide 1FILE.ORG with information that is complete and accurate to the
best of their knowledge. 1FILE.ORG is under no obligation to independently verify the information provided by Client.

8. Client Authorization.

I hereby authorize 1FILE.ORG to verify my present employment earning records, bank accounts, and any other asset balances that
are needed to process my Federal Student Loan Consolidation application. I further authorize 1FILE.ORG to order a consumer credit
report and verify other credit information, including past and present lender and landlord reporting. It is understood that a copy of
this Agreement will also serve as authorization. The information 1FILE.ORG obtains is to be used solely in the processing of Client’s
application for a Federal Student Loan Consolidation.

9. Arbitration and Choice of Law.

This Agreement shall be governed by the laws of the State of California. In the event of any controversy, claim, or dispute between
the parties arising out of, or relating to this Agreement, the parties agree to resolve all issues solely through the use of binding
arbitration with the American Arbitration Association ("AAA"). The arbitration shall take place in Orange County, California or in
the closet metropolitan area to the residence of the Client. There shall be a single arbitrator selected by the parties. The arbitrator shall
have the sole authority to resolve any dispute relating to the interpretation, applicability, enforceability, conscionability or formation
of this Agreement. The award rendered by the Arbitrator shall be final and binding on all parties. The award made by the arbitrator
may be entered into any court having jurisdiction over the parties. The parties further agree that either party may bring claims against
the other only in their individual capacity and not as a plaintiff or class member in any purported class action or representative
proceeding. Further, the parties agree that the arbitrator may not consolidate proceedings of more than one person's claims, and may
not otherwise preside over any form of representative or class proceeding. The parties shall share the cost of Arbitration, including
attorneys' fees, equally, except as provided by AAA for consumer actions.

10. Indemnification.

Client hereby agrees to defend and hold harmless 1FILE.ORG from and against any liable of any nature whatsoever arising out of, or
in connection with, Client’s breach of this Agreement, or arising from any incomplete or inaccurate information provided by Client.

11. Termination of Agreement.

Client may cancel this contract any time with written notice to 1FILE.ORG prior to being approved for Federal Student Loan
Consolidation. Any fees paid to 1FILE.ORG at time of cancellation shall be deemed earned as long as 1FILE.ORG has acted in good
                                                                                                           EXHIBIT 13
faith in performing services on behalf of Client. 1FILE.ORG may terminate this Agreement upon a breach by Client
                                                                                                              Pageof
                                                                                                                   62this
Agreement by providing written notice to Client.
12. Entire Agreement.
              Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 78 of 108 Page ID
This Agreement embodies the entire understanding and agreement #:3171
                                                                   between the parties and all previous understandings,
representatives, statements, undertakings and agreements, written or oral, are canceled, withdrawn, and/or have merged into this
Agreement. This Agreement may not be amended except by writing, signed by both parties hereto, after the date of this Agreement.

13. Legal Authorization Form.

This form will serve to acknowledge that the below Client has authorized our company, 1FILE.ORG (1FILE.ORG), to act on their
behalf to consolidate their Federal Student Loans in accordance with the DOE. Client has been advised that once approved for the
Federal Student Loan Consolidation, the Client will receive a sixty (60) day furlough before payments will start. If you have any
questions regarding this Federal Student Loan Consolidation Program, please contact your Client Loan Consolidation Specialist at
(844) 593-8070.

NOTICE OF RIGHT TO RESCIND OR CANCEL: CLIENT MAY RESCIND OR CANCEL THIS AGREEMENT WITHOUT
PENALTY OR OBLIGATION AT ANY TIME BEFORE MIDNIGHT OF THE THIRD CALENDAR DAY AFTER YOU HAVE
SIGNED THE AGREEMENT. IN ORDER TO RESCIND OR CANCEL, YOU MUST PROVIDE TIMELY WRITTEN NOTICE
TO SMART PROTECT BY MAIL OR EMAIL AT THE ADDRESS PROVIDED BELOW. ANY PAYMENTS MADE BY
CLIENT UNDER THE AGREEMENT WILL BE RETURNED WITHIN TEN (10) BUSINESS DAYS FOLLOWING RECEIPT
BY SMART PROTECT OF THE CANCELLATION NOTICE.

      Regan
NAME                                                                           SIGN


 07/10/2015
DATE                                                                           SSN




                                                                                                            EXHIBIT 13
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Privacy Policy
             Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 79 of 108 Page ID
We are committed to providing the highest level of security and#:3172
                                                               privacy regarding the collection and use of your personal information.
Personal information may be collected from your account Application, any updated information you may provide us from time to
time and the banking transactions processed through your Account. A description of our Privacy Policy is provided below. If you
have additional questions regarding the privacy of your personal information, please contact customer service at the address shown
above.

Collection / Use of Personal Information: Our collection of your personal information is designed to protect access to your
Account; and to assist us in providing you with the products and services you want and need. All personal information collected and
stored by us, or on our behalf, is used for specific business purposes to protect and administer your Account and transactions; to
comply with state and federal regulations; and to help us better understand your needs in order to design or improve our products and
services. Furthermore, auditing mechanisms have been put into place to further protect your information by identifying the personnel
who may have accessed and in any way modified OR OTHERWISE CHANGED your personal information. The personal
information we collect about you comes from the following sources: Information we receive from you such as: your name, address,
and telephone number, or other information that you provide to us over the phone, in documents, or in applications. Notwithstanding
information about your transactions; such as: account balances with creditors, payment histories, account activity, and all other
information that may be contained in your credit card statements and other reports relating to your debt; including, information we
receive from consumer reporting agencies, credit bureau reports, collection agency reports; information relating to payment histories,
creditworthiness, annual income, and your ability to satisfy obligations. In the future, we may pull your individual credit report.

Maintenance of Accurate Information: It is in the best interest of both you and 1FILE.ORG to maintain accurate records. If you
have questions regarding the accuracy of your personal information please contact 1FILE.ORG Customer Service.

Limited Access to Personal Information: We limit access to your personal information to only personnel with a business need to
know. We educate our representatives about the importance of confidentiality and customer privacy. In addition, individual user
names and passwords are used by only approved personnel to restrict access, and further safeguard the privacy of your personnel
information. You can help maintain the security of any online transactions by not sharing your personal information or password
with anyone. Remember, no method of transmission over the Internet, or electronic storing of information is 100% secure.

Third-Party Disclosure Restrictions: We follow strict privacy procedures in regard to protecting your personal information. In
addition, we require all third parties with a business need to access this information to adhere to equally stringent privacy policies.
Personal information may be supplied to a third party in order to process a transaction you have authorized; or, if the disclosure is
required or allowed by law (i.e. exchange of information with reputable reporting agencies, subpoena, or the investigation of
fraudulent activity, etc.). We prohibit the sale or transfer of personal information to non-affiliated entities for their use without giving
you the opportunity to opt-out. We may disclose such information in order to effectively or carry out any transaction that you have
requested of us; or as necessary to complete our contractual obligations with you. We may also share your information with service
providers that perform business operations for us; companies that act on our behalf to market our services; or others, only as
permitted or required by law, such as to protect against fraud or in response to a subpoena. We may also share or transfer our
information in the event we transfer or sell your account or our business assets to another provider. In administering our services
while servicing your account, we may disclose your information, as needed, and as permitted by law, to your creditors, credit card
companies, collection agencies, banks, other entities, and individuals.

Disclosure of Privacy Policies: We are committed to ensuring the privacy of your personal information. For more information
regarding our Privacy Policy, please contact customer service.

Your Choices/Opt-out: Where possible, we provide you the opportunity to 'opt-out' of having personal information shared. By
providing information to 1FILE.ORG you are consenting to the collection, use, and disclosure of personal information in the manner
described in this privacy policy. This Policy applies to current and former customers. The consent to withdraw may be achieved by
calling the telephone number provided below, or sending written/email to our customer service at:

5862 Bolsa Ave, Suite 102, Huntington Beach CA 92649 - (844) 593-8072
                                                                                                                   EXHIBIT 13
Email address: processing@1file.org                                                                                  Page 64
    Regan
             Case 8:19-cv-02109-JVS-ADS Document 57-2 Filed 11/14/19 Page 80 of 108 Page ID
   NAME                                         #:3173           SIGN


07/10/2015
   DATE




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                                                 #:3174


                                    5862 Bolsa Avenue Suite 102, Huntington Beach CA 92649

                                                  Limited Scope Power of Attorney

      THIS LIMITED POWER OF ATTORNEY IS ONLY FOR THE PROCESS, ACCESS, COMMUNICATION, AND
      ACTIONS RELATED TO STUDENT LOANS ASSOCIATED WITH THE DEPARTMENT OF EDUCATION (“DOE”)
      AND CLIENT, Amy Regan (“GRANTOR”). THIS LIMITED POWER OF ATTORNEY MAY BE REVOKED BY YOU
      THE GRANTOR AT ANY TIME BY WRITTEN NOTICE.

      I,      Regan, Social Security #              , residing at                                             CA 91411,
           CA 91411, this date, Jul 10, 2015, hereby appoints 1FILE.ORG as my ATTORNEY-IN-FACT to perform on my behalf
      as indicated below. With this signature,        Regan authorizes 1FILE.ORG to act on my behalf with the DOE in all matters
      regarding my student loan, including but not limited to,



1.     Access my account with the DOE, including taking steps and providing information necessary to access the account.

2.     Communicate with the DOE related to my account and any forbearance, deferment and/or student loan consolidation.

3.     Drafting and, following my execution, submitting an application to the DOE.

4.     Engaging sub-contractors as may be appropriate to perform the services.



1FILE.ORG has full authority to represent me, Amy Regan, to perform the services outlined in the Service Agreement.



This Limited Power of Attorney will remain in effect as of the effective date of the contract, and will remain in full force and effect
until:



1.     It is revoked, suspended or terminated in writing by the GRANTOR; or

2.     The contract is terminated for any reason, whichever is earlier to occur.



      Regan
     NAME


 07/10/2015
     DATE




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                                                    #:3175

                             5862 Bolsa Ave, Suite 102, Huntington Beach CA 92649 - (844) 593-8070
                                                         F-714-242-6951
                                                        billing@1file.org

                                                   Credit Card Authorization Form

I        Regan, authorize 1 File.org to charge my credit card *****3135 For the total of $399.00 on the dates listed below      2915.

Jul 20, 2015                            $133.00
Aug 20, 2015                            $133.00
Sep 21, 2015                            $133.00

Additionally, I authorize 1 File.org to charge a Monthly Maintenance Fee of 39.00 on the 20th of every month thereafter until loan
obligations have been fulfilled.



Your method of payment is as follows:

Credit Card Number: Visa                 Name On Credit Card:             Regan
Credit Card Number: *****3135            Expiration Date: 06/2017                   Security Code - 3 digits on Back of Card:

Billing Address of Credit Card:

                                                  CA 91411

Contact Numbers:

Home Phone:              5220
Cell Phone:

Amount due $399.00 Contract            2915



Signature
    07/10/2015
Date




                                                                                                               EXHIBIT 13
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                                           #:3176




                                                       Regan


                                                                    CA 91411
                                                                        5220




x




    x




                                                                                    07/10/2015

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                                     #:3177

E-Signature Certificate



                      Document ID    1e663fd1-33e3-8628-5d3f-ea46b23a2dea


                    Document Title   1FILE.ORG-NEW PACKAGE-CC


                         Sender IP   121.242.13.130


                Number of Signers    1


                      Signer Email              @hotmail.com


                         Signer IP   108.244.153.142


                       Timestamp     2015-07-10T13:15:27-05:00


                   Document Hash     04c89a55641338414d328bbec8f7f082




                                                                            EXHIBIT 13
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                           EXHIBIT 14
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                                              #:3179




                                                            SERVICE AGREEMENT

This service agreement (“Agreement”) is made and entered into this 1st day of July, 2019, by and between Arete Financial LLC (“Arete
Financial LLC”), and        Bell hereinafter referred to as ("Client"), whose address is                      KY 42134, with reference
to the following.

                                                                   RECITALS

     A. Arete Financial LLC provides document processing services to individuals with federal student loans who are seeking to consolidate
     the existing loans through programs offered by the Department of Education (“Federal Student Loan Consolidation”) and/or restructure
     the current payment to a new ("Income-Driven Repayment");

     B. Client requests Arete Financial LLC perform the services outlined below to assist them in submitting a new loan application to the
     Department of Education (”DOE”);

     C. In consideration of the foregoing covenants and conditions set forth, below, Arete Financial LLC and Client do hereby agree to the
     following:

1. Client Loan Service Definition.

Arete Financial LLC provides document processing and support services to Clients applying for a Federal Student Loan Consolidation with
the DOE. Arete Financial LLC will provide (a) a review of the Client’s current financial situation; (b) analyze and review available Federal
Student Loan Consolidation programs offered by the DOE based on Client’s current financial situation; (c) following Client’s selection of a
program, compile information and submit on the Client’s behalf a Federal Student Loan Consolidation application with the DOE (the
“Services”).

2. Nature of Service; No Legal or Tax Advice.

Arete Financial LLC is a private company not affiliated with any government agency. Client acknowledges that the programs that Clients is
seeking are available without cost to Client. The Client acknowledges that Arete Financial LLC is not a law firm, and that no legal or tax
advice can or will be provided under this agreement. Client acknowledges and agrees that the Services do not consist of any renegotiation,
restructure, reduction or other adjustment of the terms of any existing loan or debt.

3. Rehabilitation; Garnishment.

If any of the Client’s existing federal student loans are in default and/or the Client is being garnished by any lender, Arete Financial LLC will
provide Client the option of rehabilitating said loans. Once the rehabilitation process is completed, Arete Financial LLC will consolidate the
Client’s federal student loans through the DOE. The rehabilitation of a loan in default will require an additional fee.

4. Fees.

Client agrees to pay Arete Financial LLC a Service fee of $798.00 for providing the Services. In addition Client agrees to pay Arete
Financial LLC a Monthly Maintenance fee of: $39.00. The Service fee will only be earned after Client is approved for a program through
DOE. If Client’s Federal Student Loan application is not approved for a program through DOE, Arete Financial LLC will reimburse 100% of all
Clients' fees collected. Client also understands that a third party payment processing company will be pulling the Client’s Service fee and
Monthly Maintenance fee payments.

5. Refund.

Client understands that Arete Financial LLC is a document processing company and cannot guarantee a payment or loan terms quoted by
the DOE website. However, Arete Financial LLC guarantees that Client will receive a Federal Student Loan Consolidation, or a repayment
plan using current lenders, through the DOE subject to the following conditions: (1) Client’s existing loans are original debts, and have not
been previously consolidated or restructured (2) Client fully cooperates with Arete Financial LLC providing all information requested by Arete
Financial LLC and DOE in a timely manner as deemed by Arete Financial LLC and that such information is complete and accurate; and (3)
Client’s loan application is not disqualified by the DOE due to issue or characteristic related to Client. All refund requests must be made
within 30 days of any loan application denial by the DOE. Arete Financial LLC will reimburse 100% of the Service fee paid by Client.

6. Process.

Following receipt of all necessary information from Client and the first payment has been made, the Services will commence. Arete
Financial LLC relies on the applicable lender(s) and Arete Financial LLC cannot be held liable for delayed completion due to delays in
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obtaining information or approvals from third parties or the DOE. The average completion time to process a Federal Student Loan
Consolidation through Arete Financial LLC is approximately ninety (90) days, unless a rehabilitation is required for the Client, or a
forbearance plan is necessary.

7. Client Warranty.

Client expressly represents and warrants that they will provide Arete Financial LLC with information that is complete and accurate to the
best of their knowledge. Arete Financial LLC is under no obligation to independently verify the information provided by Client.

8. Client Authorization.

I hereby authorize Arete Financial LLC to verify my present employment earning records, bank accounts, and any other asset balances
that are needed to process my Federal Student Loan Consolidation application. I further authorize Arete Financial LLC to order a consumer
credit report and verify other credit information, including past and present lender and landlord reporting. It is understood that a copy of this
Agreement will also serve as authorization. The information Arete Financial LLC obtains is to be used solely in the processing of Client’s
application for a Federal Student Loan Consolidation.

9. Arbitration and Choice of Law.

This Agreement shall be governed by the laws of the State of California. In the event of any controversy, claim, or dispute between the
parties arising out of, or relating to this Agreement, the parties agree to resolve all issues solely through the use of binding arbitration with
the American Arbitration Association ("AAA"). The arbitration shall take place in Orange County, California or in the closet metropolitan area
to the residence of the Client. There shall be a single arbitrator selected by the parties. The arbitrator shall have the sole authority to resolve
any dispute relating to the interpretation, applicability, enforceability, conscionability or formation of this Agreement. The award rendered by
the Arbitrator shall be final and binding on all parties. The award made by the arbitrator may be entered into any court having jurisdiction
over the parties. The parties further agree that either party may bring claims against the other only in their individual capacity and not as a
plaintiff or class member in any purported class action or representative proceeding. Further, the parties agree that the arbitrator may not
consolidate proceedings of more than one person's claims, and may not otherwise preside over any form of representative or class
proceeding. The parties shall share the cost of Arbitration, including attorneys' fees, equally, except as provided by AAA for consumer
actions.

10. Indemnification.

Client hereby agrees to defend and hold harmless Arete Financial LLC from and against any liable of any nature whatsoever arising out of,
or in connection with, Client’s breach of this Agreement, or arising from any incomplete or inaccurate information provided by Client.

11. Termination of Agreement.

Client may cancel this contract any time with written notice to Arete Financial LLC prior to being approved for Federal Student Loan
Consolidation. Any fees paid to Arete Financial LLC at time of cancellation shall be deemed earned as long as Arete Financial LLC has
acted in good faith in performing services on behalf of Client. Arete Financial LLC may terminate this Agreement upon a breach by Client
of this Agreement by providing written notice to Client.

12. Entire Agreement.

This Agreement embodies the entire understanding and agreement between the parties and all previous understandings, representatives,
statements, undertakings and agreements, written or oral, are canceled, withdrawn, and/or have merged into this Agreement. This Agreement
may not be amended except by writing, signed by both parties hereto, after the date of this Agreement.

13. Legal Authorization Form.

This form will serve to acknowledge that the below Client has authorized our company, Arete Financial LLC (Arete Financial LLC), to act on
their behalf to consolidate their Federal Student Loans in accordance with the DOE. Client has been advised that once approved for the
Federal Student Loan Consolidation, the Client will receive a sixty (60) day furlough before payments will start. If you have any questions
regarding this Federal Student Loan Consolidation Program, please contact your Client Loan Consolidation Specialist at (888) 331-5827.



         Bell                                                                            {SIGNATURE}
NAME                                                                                    SIGN


 {SIGNDATE}
DATE                                                                                    SSN


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Privacy Policy

We are committed to providing the highest level of security and privacy regarding the collection and use of your personal information.
Personal information may be collected from your account Application, any updated information you may provide us from time to time and
the banking transactions processed through your Account. A description of our Privacy Policy is provided below. If you have additional
questions regarding the privacy of your personal information, please contact customer service at the address shown above.

Collection / Use of Personal Information: Our collection of your personal information is designed to protect access to your Account; and
to assist us in providing you with the products and services you want and need. All personal information collected and stored by us, or on
our behalf, is used for specific business purposes to protect and administer your Account and transactions; to comply with state and
federal regulations; and to help us better understand your needs in order to design or improve our products and services. Furthermore,
auditing mechanisms have been put into place to further protect your information by identifying the personnel who may have accessed and
in any way modified OR OTHERWISE CHANGED your personal information. The personal information we collect about you comes from
the following sources: Information we receive from you such as: your name, address, and telephone number, or other information that you
provide to us over the phone, in documents, or in applications. Notwithstanding information about your transactions; such as: account
balances with creditors, payment histories, account activity, and all other information that may be contained in your credit card statements
and other reports relating to your debt; including, information we receive from consumer reporting agencies, credit bureau reports, collection
agency reports; information relating to payment histories, creditworthiness, annual income, and your ability to satisfy obligations. In the
future, we may pull your individual credit report.

Maintenance of Accurate Information: It is in the best interest of both you and Arete Financial LLC to maintain accurate records. If you
have questions regarding the accuracy of your personal information please contact Arete Financial LLC Customer Service.

Limited Access to Personal Information: We limit access to your personal information to only personnel with a business need to know.
We educate our representatives about the importance of confidentiality and customer privacy. In addition, individual user names and
passwords are used by only approved personnel to restrict access, and further safeguard the privacy of your personnel information. You
can help maintain the security of any online transactions by not sharing your personal information or password with anyone. Remember, no
method of transmission over the Internet, or electronic storing of information is 100% secure.

Third-Party Disclosure Restrictions: We follow strict privacy procedures in regard to protecting your personal information. In addition, we
require all third parties with a business need to access this information to adhere to equally stringent privacy policies. Personal information
may be supplied to a third party in order to process a transaction you have authorized; or, if the disclosure is required or allowed by law (i.e.
exchange of information with reputable reporting agencies, subpoena, or the investigation of fraudulent activity, etc.). We prohibit the sale
or transfer of personal information to non-affiliated entities for their use without giving you the opportunity to opt-out. We may disclose
such information in order to effectively or carry out any transaction that you have requested of us; or as necessary to complete our
contractual obligations with you. We may also share your information with service providers that perform business operations for us;
companies that act on our behalf to market our services; or others, only as permitted or required by law, such as to protect against fraud or
in response to a subpoena. We may also share or transfer our information in the event we transfer or sell your account or our business
assets to another provider. In administering our services while servicing your account, we may disclose your information, as needed, and
as permitted by law, to your creditors, credit card companies, collection agencies, banks, other entities, and individuals.

Disclosure of Privacy Policies: We are committed to ensuring the privacy of your personal information. For more information regarding
our Privacy Policy, please contact customer service.

Your Choices/Opt-out: Where possible, we provide you the opportunity to 'opt-out' of having personal information shared. By providing
information to Arete Financial LLC you are consenting to the collection, use, and disclosure of personal information in the manner described
in this privacy policy. This Policy applies to current and former customers. The consent to withdraw may be achieved by calling the
telephone number provided below, or sending written/email to our customer service at:

1261 E. Dyer. Rd. #100, Santa Ana, CA 92705

Email Address: info@aretefinancialfreedom.com

         Bell                                                                           {SIGNATURE}
     NAME                                                                                    SIGN


 {SIGNDATE}
     DATE




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                                          Student Loan Consolidation Payment Plan Estimate




                          Loan Program Selected                           Number of Payment (Months)          Payment Amount*




REPAYE                                                                                                 0.00
                                                                         240




*Starting payment in the case of the Income Based Repayment plan
**Estimated Principle and Interest Paid if all payments are made as scheduled




The above quote is an ESTIMATE of what the new payment would be based upon the information client has provided. There are no
guarantees, until your income has been verified and your application has been reviewed by the U.S. Department of Education and your
current loan servicer. By signing below, you agree to the terms and conditions.




       Bell                                                                    {SIGNATURE}

Name                                                                           Signature


{SIGNDATE}

Date                                                                           SSN




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                                                      Limited Scope Power of Attorney

        THIS LIMITED POWER OF ATTORNEY IS ONLY FOR THE PROCESS, ACCESS, COMMUNICATION, AND ACTIONS RELATED TO
        STUDENT LOANS ASSOCIATED WITH THE DEPARTMENT OF EDUCATION (“DOE”) AND CLIENT, Richele Bell (“GRANTOR”). THIS
        LIMITED POWER OF ATTORNEY MAY BE REVOKED BY YOU THE GRANTOR AT ANY TIME BY WRITTEN NOTICE.

        I,         Bell, Social Security #            0, residing at                         KY 42134,           KY 42134, this date, Jul 01,
        2019, hereby appoints Arete Financial LLC as my ATTORNEY-IN-FACT to perform on my behalf as indicated below. With this
        signature,          Bell authorizes Arete Financial LLC to act on my behalf with the DOE in all matters regarding my student loan,
        including but not limited to,




1.       Access my account with the DOE, including taking steps and providing information necessary to access the account.

2.      Communicate with the DOE related to my account and any forbearance, deferment and/or student loan consolidation.

3.       Drafting and, following my execution, submitting an application to the DOE.

4.       Engaging sub-contractors as may be appropriate to perform the services.



Arete Financial LLC has full authority to represent me,           Bell, to perform the services outlined in the Service Agreement.



This Limited Power of Attorney will remain in effect as of the effective date of the contract, and will remain in full force and effect until:



1.       It is revoked, suspended or terminated in writing by the GRANTOR; or

2.       The contract is terminated for any reason, whichever is earlier to occur.



Address: 1261 E. Dyer Rd. #100, Santa Ana, CA 92705



          Bell                                                                  {SIGNATURE}
Printed Name                                                                   Signature
                                                                               {COSIGNATURE}
Co-Applicant Printed Name                                                       Co-Applicant Signature
{SIGNDATE}                                                                      {COSIGNDATE}
Date                                                                            Date




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                 Bell



                                                                                   --

                                KY 42134




          Arete Financial 1261 East Dyer Rd Suite 100 Santa Ana, CA 92705 8883315827




                                  1040




                                                    12     31      14         12        31     15         12   31   16




                 {SIGNATURE}                                                                 {SIGNDATE}




                   {COSIGNATURE}                                                             {SIGNDATE}


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                                                        Bell


                                                                            KY         42134
                                                        -4175
                                                        -4175

                                                               @yahoo.com




                                                    X


     X




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                          Bell




                                 {SIGNATURE}                              {SIGNDATE}




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Credit Card Authorization Form

I         Bell, authorize ARETE FINANCIAL LLC to charge my credit card *****9164 For the total of $798.00 on the dates listed below
        5787.

Jul 19, 2019                   $133.00            {INITIAL}
Jul 26, 2019                   $133.00            {INITIAL}
Aug 02, 2019                   $133.00            {INITIAL}
Aug 09, 2019                   $133.00            {INITIAL}
Aug 16, 2019                   $133.00            {INITIAL}
Aug 23, 2019                   $133.00            {INITIAL}

Additionally, I authorize ARETE FINANCIAL to charge a Monthly Maintenance Fee of 39.00 on the 19th of every month for 120 months
thereafter until loan obligations have been fulfilled. {INITIAL}

Your method of payment is as follows:

Credit Card Number: Visa                 Name On Credit Card:           Bell
Credit Card Number: *****9164            Expiration Date: 05/2022                 Security Code - 3 digits on Back of Card:

Billing Address of Credit Card:

                        KY 42134

Contact Numbers:

Home Phone:            -4175
Cell Phone:          -4175

Amount due $798.00 Contract          5787

Address: 1261 E. Dyer Rd. #100, Santa Ana, CA 92705

    {SIGNATURE}
Signature
    {SIGNDATE}
Date




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                                                          Bell




                                                                 KY                       42134

                      -4175                                           @yahoo.com

                                                                                                    /1969




                                          ARETE FINANCIAL FREEDOM

                              1261 E DYER RD

                SANTA ANA                                        CA                       92705

                888 331-5827                                               3RD PARTY ORGANIZATION




                {SIGNDATE}                           {SIGNATURE}




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                                                      Preparation Service Agreement


Section 1: Client Information                                     Client ID: 331135787                         Agreement Date: Jul 01, 2019

Client First Name                                                         Client Last Name: Bell

Client Middle Name:                                                       Former Last Name:

Street Address:                                                           City, State, Zip:              , KY 42134

Client Email:             l@yahoo.com                                     Client Home Phone:                    -4175 Cell Phone:          -4175

Section 2: Client’s Estimated Summary of Current Federal Student Loans
                                          The basis of this summary is derived from the input of the client.

Estimated Total Federal Loan Balance: $25,963.00                          Loan Status:

Approximate Current Monthly Payment: $                                    Number of Loans: 7

Estimated New Loan Payment: $0.00                                         New Loan Payment Validation Term: Annually

Estimated Payment Term (Months): 240

Section 3: Required Consolidation Paperwork Information

Client SSN:                                                               Client DOB:            /1969

DL/ID Number & State: KS                                                  FASFA PIN:

Employer Name:                                                            Occupation:

Employer Street Address:                                                  Employer City, State, Zip:                   TN,37148


Employer Phone:            -7311                                          Family Size: 3

Marital Status: Single                                                    Filing Status: Single

Current Annual Income: $36920.00                                          Form of Documented Income: 1040

Spouse First Name:                                                        Spouse Last Name:



Spouse Employer Name:                                                     Spouse Work Phone:

Spouse Annual Income: $0                                                  Client PSLF Candidate (Yes/No):

***If this loan qualifies for Public Service Loan Forgiveness your number of payments will be reduced to 120 Months.




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References: 2 Persons with different addresses, PO Boxes are NOT acceptable, not residing in the same home (for example, a spouse) or anyone living outside the U.S.

 Reference 1 Full Name:                       Gregory                                 Permanent Address:

 Reference 1 Phone:                                                                   Relationship to Client:

 Reference 2 Full Name:                     Bell                                      Permanent Address:

 Reference 2 Phone:                                                                   Relationship to Client:

Section 4: Company Set Up and Service Program Cost

Company Document Preparation and Supporting Service Program Cost Arete Financial Freedom Payment/Fees are in addition to and completely separate of loan costs and/or
payments made by Client to lenders.



 Company Program Payment/Fee Amount: 798.00                                           Initial Service(s) Selected for these Fees:

 Fee: $                                                                               Recurring Date: 19th

I Richele Bell Agree that all of the above information is true and correct to the best of their understanding at the present time, and Arete
Financial Freedom bases, in part, its decision to accept Client and provide services to Client on the accuracy of the above information.
Arete Financial Freedom shall not be held responsible in any way for reliance on the above information, any claim arising from use or
storage of such information, or carrying out its contractual obligations using the above information.
Signature:      {SIGNATURE}                                                                                           Date: {SIGNDATE}




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                                                                                               CUSTODIAL ACCOUNT AGREEMENT
                                                                                                                                         Ver 12/03/2015



Client enters into this Agreement (Agreement) with Payment Automation Network, Inc. (PAN) for the purpose of having PAN receive
payments, make disbursements authorized by Client upon Client’s instructions and/or the occurrence of specified events, and provide
online transaction management and accounting information on Client’s behalf (together, the “Services”).

Client authorizes PAN to (i) collect (debit) funds via ACH from Client’s designated financial institution (Designated Account) pursuant to the
Payment Schedule attached hereto (“Payment Schedule”); (ii) deposit such funds in a non-interest bearing FDIC custodial account
(“Custodial Account”); and (iii) disburse funds from the Custodial Account as directed by the payment schedule and/or by client solely upon
receipt of authorized instructions from Client, provided the balance in the Depository Account equals or exceeds the disbursement request.
If the balance of the Custodian Account is less than a requested disbursement, the disbursement direction will not be honored until the
balance is increased to the desired amount.

Client agrees to pay PAN’s fees and charges shown below and such fees and charges may be deducted directly from the Custodial
Account.

Client agrees PAN will select the financial institution that will hold the Custodial Account. Client agrees that PAN may, at its sole discretion
and upon written notification to Client, change the financial institution that will hold the Custodial Account at any time, and that the
Custodian Account may be located in California or any other state selected by PAN in its sole discretion. Client agrees that the Custodial
Account will not be used for any illegal purpose, and Client agrees to defend, indemnify and hold PAN harmless from any claims or
demands related thereto whenever arising or discovered.

Client agrees that sufficient funds will be available in the Designated Account at least three (3) business days prior to date of all scheduled
ACH debits. Client understands and agrees that to stop or change a scheduled debit from the Designated Account, Client must notify PAN
at least three (3) business days prior to any such change. In the event Client’s Designated Account does not have sufficient funds for a
scheduled debit, PAN will not be liable to any third party due to insufficient funds, restriction or dishonor related to Client’s account. Client
authorizes PAN to recover any funds arising from a NSF, dishonor or error in debiting the Designated Account. At its sole discretion, PAN
may recover any such funds by means of a debit to the Designated Account and/or the Custodial Account. Client agrees to defend,
indemnify and hold PAN harmless from any claims or demands related thereto whenever arising or discovered. If Client’s Custodian
Account is suspended, cancelled or otherwise terminated for any reason and the account has a negative balance, Client agrees to pay the
negative balance upon demand. Should Client fail to remit the full amount of such negative balance, Client shall remain responsible for the
deficit and collection actions may be pursued against Client.

Client has an agreement with Service Provider, and the Payment Schedule is part of that agreement. Client directs and authorizes PAN to
share information with Service Provider as required by Service Provider and with any other authorized parties involved in the administration
of the Custodial Account on Client’s behalf. PAN is not an owner, employee, or partner of Service Provider, and provides the Services to
Client as an independent third party. Client agrees that PAN is not involved or engaged in any respect with the services provided by the
Service Provider, other than acting as a third party escrow on behalf of Client and the Service Provider. Client agrees that PAN shall not be
responsible for determining when a payment is due or whether a payment is for the correct amount or otherwise proper. PAN’s sole
obligation shall be to execute Client’s payment instructions in a commercially reasonable manner as soon as practical after receipt of such
instructions or after the occurrence of the specified event authorizing release of a payment on behalf of Client. PAN shall not be liable for
any conduct by Service Provider or for penalty or other charge levied by anyone on Client, for any failure of anyone to honor a transaction
or for any other adverse action taken or not taken by any other party in connection with the Services. Under no circumstances shall PAN
be liable for any special, incidental, consequential, exemplary or punitive damages.

PAN will provide Client an internet login with a login name and password for viewing the funds held in the Custodial Account and all
transactions related to Client via a protected website. Use of Client’s passcode, password or any other form of identification designated by
Client in any transaction constitutes and will be accepted as Client’s electronic signature, as that term is used in the federal Electronic
Signature in Global and National Commerce law and other applicable laws.

Client’s funds are held in the Custodial Account pending Client’s instructions for disbursement. Client has sole authority to authorize
disbursements or transfers. You expressly authorize PAN to rely on your instructions for this purpose whether transmitted directly by you,
via the Service Provider or by a third party you have authorized in whatever form provided, including but not limited to any instructions
provided via email, PAN’s website, E-signature or other writing, verbally, by voicemail or any other means of communication. If Client is
more than one person, PAN may act upon receipt the instructions of either person; however, if conflicting instructions are received before
any action has been taken, PAN may in its sole discretion refrain from taking any action until it receives joint instructions from all Clients or
a court order directing further action. Client agrees that PAN shall have no right or obligation to control, direct, or change any disbursement
instructions provided by Client other than as expressly provided by this Agreement.

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                                                                                                                                Initials: {INITIAL}



Client may revoke any prior payment authorization at any time before such payment has been initiated by completing and submitting a
Revocation of Recurring Payment Authorization form to PAN by email or mail. See PAN’s Contact Information below.

PAN or Client may terminate this Agreement upon delivery of written notice at any time. Upon termination of this Agreement for any
reason, PAN shall arrange for Client’s remaining funds, apart from any funds due to be paid to the Service Provider or any other person or
entity as a result of the occurrence of specified events prior to delivery of the termination notice, to be transmitted from the Custodial
Account to the Designated Account.

Client agrees that all disclosures, account activity, notifications and any other communications related to the Services may be distributed
to Client by electronic mail or through PAN’s software services. Client acknowledges that Client is able to electronically receive, download
and print such information and communications. If Client is unable to communicate electronically for any reason, Client agrees to notify
PAN immediately, and reasonable alternative means of communication will be established in accordance with applicable law.

Client understands and agrees that all calls to and from PAN are monitored and recorded. Client verifies that the telephone and cellular
phone numbers and email addresses shown below presently belong to Client. Client consents to receive emails, prerecorded messages
and/or autodialed calls (including text messages) relating to this Agreement and the Services. These communications may be made by PAN
or its agents, even if your phone number is registered on any state or federal “Do Not Call” list. You may incur a charge for such calls by
your telephone carrier. PAN may obtain and contact email addresses and phone numbers provided by you directly or obtained through other
lawful means. Your consent to this provision is not required as a condition of entering into this Agreement, and you may opt out from
consenting to these provisions by contacting PAN in writing at PAN’s Contact Information below.

You agree to provide notice within 30 days of any change to your email address or phone numbers by writing to PAN’s Contact Information
below.

ARBITRATION OF DISPUTES - IMPORTANT NOTICE AFFECTING YOUR RIGHTS
You agree that any controversy, claim or dispute between the parties arising out of or relating to this Agreement, or to any of the services
provided pursuant to this Agreement, or the breach, termination, enforcement, interpretation or validity thereof, including the determination
of the scope or applicability of this Agreement to arbitrate, shall be determined by binding arbitration conducted in the federal judicial district
where the Client resides. The parties agree that this arbitration provision shall be governed by and enforceable under the Federal Arbitration
Act. Otherwise, parties agree that the laws of the Client’s state of residence shall govern any dispute between them. The parties agree the
arbitration shall be conducted before a single arbitrator pursuant to the rules and procedures of the American Arbitration Association ("AAA").
The arbitrator shall be neutral and independent and shall comply with the AAA code of ethics. Any award rendered by the arbitrator shall be
final and shall not be subject to vacation or modification. Judgment on the award made by the arbitrator may be entered in any court having
jurisdiction over the parties. The parties agree that either party may bring claims against the other only in his/her or its individual capacity
and not as a plaintiff or class member in any purported class or representative proceeding. Further, the parties agree that the arbitrator may
not consolidate proceedings of more than one person's claims, and may not otherwise preside over any form of representative or class
proceeding. The parties shall share the costs of the arbitration, not including attorney’s fees or expert witness expenses, equally. If the
consumer's share of the costs is greater than two-thousand dollars ($2,000.00), PAN will pay the consumer’s share of any costs in excess
of that amount. In the event that a party fails to proceed with arbitration, unsuccessfully challenges the arbitrator's award, or fails to
comply with the arbitrator's award, the other party shall be entitled to obtain costs of suit, including any reasonable attorney’s fees incurred
for having to compel arbitration or defend or enforce the award. Binding Arbitration means that both parties give up the right to a trial by a
jury. It also means that both parties give up the right to appeal from the arbitrators ruling, except for a narrow range of issues that can or
may be appealed. It also means that discovery may be severely limited by the arbitrator. This section and the requirement to arbitrate shall
survive any termination of this Agreement.

This Agreement constitutes the entire agreement between Client and PAN. No modifications, variations or waivers of any provisions of this
Agreement shall be deemed valid unless in writing and signed by Client and PAN.




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                                            #:3195
Client Last Name         First Name                                       Social Security             Date of Birth
                                               Middle Name/Initial
Bell                                                                                                        1969


                                                                          Social Security
Co-Client Last Name      First Name            Middle Name/Initial                                    Date of Birth
                                                                          --


Address                                                     City, State, ZIP

                      KY 42134                                       , KY, 42134


Phone                                 Email                                        Mothers Maiden Name

        4175                                   l@yahoo.com


Authorized Service Provider/Agent                           Account ID

Arete Financial                                             AR--1



Client Signature   {SIGNATURE}          Date   {SIGNDATE}                 Notifications To Payment Automation Network

                                                                          Email: Clients@paymentautomation.net

                                                                          Phone: (800)813-3740
Co-Client
                   {COSIGNATURE}        Date   {COSIGNDATE}               Fax: (866)600-2703
Signature
                                                                          Portal: https://client.paymentautomation.net




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                                                                                                         CUSTODIAL ACCOUNT AGREEMENT

                                                                                                                                           Ver 10/30/2014



AUTHORIZATION FOR RECURRING DIRECT PAYMENTS I (we) hereby authorize PAN to initiate ACH debit entries from the account at the
depository financial institution named below and to debit the same to such account. I (we) acknowledge that the origination of ACH
transactions to the account must comply with the provisions of U.S. law. This authorization is to remain in full force and effect until PAN
has received written notification from me (or either of us) of its termination no fewer than three (3) days to afford PAN and DEPOSITORY a
reasonable opportunity to act on it, or until the scheduled debits are completed.


                                                 Routing
Bank Name              Account Number                    Account Type                    Account Fees
                                                 Number

                                                                                         I authorize PAN to charge my Primary Financial
Authorizing Person's Name (as it appears on check)                                       Institution or my Custodial Account in accordance
                                                                                         with the following fees for services rendered.



                                                                                                                      Monthly Custodial Account:$6.75
Address, City, State, Zip (as it appears on check)
                                                                                                                         Unauthorized Returns:$35.00
                          KY 42134,          , KY, 42134
                                                                                                                                 Stop Payment:$25.00

                                                                                                                               Return Item Fee: $0.00


                                                 Effective Date (Date of First
Recurring Debit Authorization
                                                 Debit)                                  Fees for Disbursements per occurrence or any
                                                                                         other appropriate service.
$798.00
                                                  Jul 19, 2019



                                                                                                                               ACH Credit:$5.00
The specific debits to my account authorized herein may only post on or after the
EFFECTIVE DATE listed in the attached payment schedule. This authorization is to                                    ACH Debit/Check by phone:$5.00

remain in full force and effect until PAN has received written notification from me of
                                                                                                              Overnight Check, Wire Transfer: $25.00
termination in such time and in such manner as to afford PAN a reasonable
opportunity to act.                                                                                                         2-Day Check:$10.00

                                                                                                                             USPS Check: $5.00


                                                                                         Notifications To Payment Automation Network
Client Signature       {SIGNDATE}                DATE      Jul 01, 2019
                                                                                         Email: Clients@paymentautomation.net

                                                                                         Phone: (800)813-3740

                                                                                         Fax: (866)600-2703
CO-Client
                                                 DATE      Jul 01, 2019
Signature                                                                                Portal: https://client.paymentautomation.net


                                                             Payment Schedule

    #           Date                  Enrollment Fee                      Monthly Service Fee                           Total Payment
1       Jul 19, 2019            $133.00                          $0.00                                          $133.00
                                $798.00                          $4,446.00                                      $5,244.00

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     #        Date            Enrollment Fee       Monthly Service Fee         Total Payment
2        Jul 26, 2019   $133.00               $0.00                         $133.00
3        Aug 02, 2019   $133.00               $0.00                         $133.00
4        Aug 09, 2019   $133.00               $0.00                         $133.00
5        Aug 16, 2019   $133.00               $0.00                         $133.00
6        Aug 23, 2019   $133.00               $0.00                         $133.00
7        Sep 06, 2019   $0.00                 $39.00                        $39.00
8        Sep 13, 2019   $0.00                 $39.00                        $39.00
9        Sep 20, 2019   $0.00                 $39.00                        $39.00
10       Sep 27, 2019   $0.00                 $39.00                        $39.00
11       Oct 04, 2019   $0.00                 $39.00                        $39.00
12       Oct 11, 2019   $0.00                 $39.00                        $39.00
13       Oct 18, 2019   $0.00                 $39.00                        $39.00
14       Oct 25, 2019   $0.00                 $39.00                        $39.00
15       Nov 01, 2019   $0.00                 $39.00                        $39.00
16       Nov 08, 2019   $0.00                 $39.00                        $39.00
17       Nov 15, 2019   $0.00                 $39.00                        $39.00
18       Nov 22, 2019   $0.00                 $39.00                        $39.00
19       Nov 29, 2019   $0.00                 $39.00                        $39.00
20       Dec 06, 2019   $0.00                 $39.00                        $39.00
21       Dec 13, 2019   $0.00                 $39.00                        $39.00
22       Dec 20, 2019   $0.00                 $39.00                        $39.00
23       Dec 27, 2019   $0.00                 $39.00                        $39.00
24       Jan 03, 2020   $0.00                 $39.00                        $39.00
25       Jan 10, 2020   $0.00                 $39.00                        $39.00
26       Jan 17, 2020   $0.00                 $39.00                        $39.00
27       Jan 24, 2020   $0.00                 $39.00                        $39.00
28       Jan 31, 2020   $0.00                 $39.00                        $39.00
29       Feb 07, 2020   $0.00                 $39.00                        $39.00
30       Feb 14, 2020   $0.00                 $39.00                        $39.00
31       Feb 21, 2020   $0.00                 $39.00                        $39.00
32       Feb 28, 2020   $0.00                 $39.00                        $39.00
33       Mar 06, 2020   $0.00                 $39.00                        $39.00
34       Mar 13, 2020   $0.00                 $39.00                        $39.00
35       Mar 20, 2020   $0.00                 $39.00                        $39.00
36       Mar 27, 2020   $0.00                 $39.00                        $39.00
37       Apr 03, 2020   $0.00                 $39.00                        $39.00
38       Apr 10, 2020   $0.00                 $39.00                        $39.00
39       Apr 17, 2020   $0.00                 $39.00                        $39.00
40       Apr 24, 2020   $0.00                 $39.00                        $39.00
41       May 01, 2020   $0.00                 $39.00                        $39.00
42       May 08, 2020   $0.00                 $39.00                        $39.00
43       May 15, 2020   $0.00                 $39.00                        $39.00
44       May 22, 2020   $0.00                 $39.00                        $39.00
45       May 29, 2020   $0.00                 $39.00                        $39.00
46       Jun 05, 2020   $0.00                 $39.00                        $39.00
47       Jun 12, 2020   $0.00                 $39.00                        $39.00
48       Jun 19, 2020   $0.00                 $39.00                        $39.00
                        $798.00               $4,446.00                     $5,244.00

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                                              #:3198
     #        Date            Enrollment Fee       Monthly Service Fee         Total Payment
49       Jun 26, 2020   $0.00                 $39.00                        $39.00
50       Jul 06, 2020   $0.00                 $39.00                        $39.00
51       Jul 10, 2020   $0.00                 $39.00                        $39.00
52       Jul 17, 2020   $0.00                 $39.00                        $39.00
53       Jul 24, 2020   $0.00                 $39.00                        $39.00
54       Jul 31, 2020   $0.00                 $39.00                        $39.00
55       Aug 07, 2020   $0.00                 $39.00                        $39.00
56       Aug 14, 2020   $0.00                 $39.00                        $39.00
57       Aug 21, 2020   $0.00                 $39.00                        $39.00
58       Aug 28, 2020   $0.00                 $39.00                        $39.00
59       Sep 04, 2020   $0.00                 $39.00                        $39.00
60       Sep 11, 2020   $0.00                 $39.00                        $39.00
61       Sep 18, 2020   $0.00                 $39.00                        $39.00
62       Sep 25, 2020   $0.00                 $39.00                        $39.00
63       Oct 02, 2020   $0.00                 $39.00                        $39.00
64       Oct 09, 2020   $0.00                 $39.00                        $39.00
65       Oct 16, 2020   $0.00                 $39.00                        $39.00
66       Oct 23, 2020   $0.00                 $39.00                        $39.00
67       Oct 30, 2020   $0.00                 $39.00                        $39.00
68       Nov 06, 2020   $0.00                 $39.00                        $39.00
69       Nov 13, 2020   $0.00                 $39.00                        $39.00
70       Nov 20, 2020   $0.00                 $39.00                        $39.00
71       Nov 27, 2020   $0.00                 $39.00                        $39.00
72       Dec 04, 2020   $0.00                 $39.00                        $39.00
73       Dec 11, 2020   $0.00                 $39.00                        $39.00
74       Dec 18, 2020   $0.00                 $39.00                        $39.00
75       Dec 28, 2020   $0.00                 $39.00                        $39.00
76       Jan 04, 2021   $0.00                 $39.00                        $39.00
77       Jan 08, 2021   $0.00                 $39.00                        $39.00
78       Jan 15, 2021   $0.00                 $39.00                        $39.00
79       Jan 22, 2021   $0.00                 $39.00                        $39.00
80       Jan 29, 2021   $0.00                 $39.00                        $39.00
81       Feb 05, 2021   $0.00                 $39.00                        $39.00
82       Feb 12, 2021   $0.00                 $39.00                        $39.00
83       Feb 19, 2021   $0.00                 $39.00                        $39.00
84       Feb 26, 2021   $0.00                 $39.00                        $39.00
85       Mar 05, 2021   $0.00                 $39.00                        $39.00
86       Mar 12, 2021   $0.00                 $39.00                        $39.00
87       Mar 19, 2021   $0.00                 $39.00                        $39.00
88       Mar 26, 2021   $0.00                 $39.00                        $39.00
89       Apr 02, 2021   $0.00                 $39.00                        $39.00
90       Apr 09, 2021   $0.00                 $39.00                        $39.00
91       Apr 16, 2021   $0.00                 $39.00                        $39.00
92       Apr 23, 2021   $0.00                 $39.00                        $39.00
93       Apr 30, 2021   $0.00                 $39.00                        $39.00
94       May 07, 2021   $0.00                 $39.00                        $39.00
95       May 14, 2021   $0.00                 $39.00                        $39.00
                        $798.00               $4,446.00                     $5,244.00

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                                              #:3199
     #        Date            Enrollment Fee       Monthly Service Fee         Total Payment
96       May 21, 2021   $0.00                 $39.00                        $39.00
97       May 28, 2021   $0.00                 $39.00                        $39.00
98       Jun 04, 2021   $0.00                 $39.00                        $39.00
99       Jun 11, 2021   $0.00                 $39.00                        $39.00
100      Jun 18, 2021   $0.00                 $39.00                        $39.00
101      Jun 25, 2021   $0.00                 $39.00                        $39.00
102      Jul 02, 2021   $0.00                 $39.00                        $39.00
103      Jul 09, 2021   $0.00                 $39.00                        $39.00
104      Jul 16, 2021   $0.00                 $39.00                        $39.00
105      Jul 23, 2021   $0.00                 $39.00                        $39.00
106      Jul 30, 2021   $0.00                 $39.00                        $39.00
107      Aug 06, 2021   $0.00                 $39.00                        $39.00
108      Aug 13, 2021   $0.00                 $39.00                        $39.00
109      Aug 20, 2021   $0.00                 $39.00                        $39.00
110      Aug 27, 2021   $0.00                 $39.00                        $39.00
111      Sep 03, 2021   $0.00                 $39.00                        $39.00
112      Sep 10, 2021   $0.00                 $39.00                        $39.00
113      Sep 17, 2021   $0.00                 $39.00                        $39.00
114      Sep 24, 2021   $0.00                 $39.00                        $39.00
115      Oct 01, 2021   $0.00                 $39.00                        $39.00
116      Oct 08, 2021   $0.00                 $39.00                        $39.00
117      Oct 15, 2021   $0.00                 $39.00                        $39.00
118      Oct 22, 2021   $0.00                 $39.00                        $39.00
119      Oct 29, 2021   $0.00                 $39.00                        $39.00
120      Nov 05, 2021   $0.00                 $39.00                        $39.00
                        $798.00               $4,446.00                     $5,244.00




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                           EXHIBIT 15
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                                           #:3201



From:                        Andy@1file.org
Sent:                        Wednesday, August 14, 2019 3:09 PM
To:                          Gary USFFC
Subject:                     Prospect


This prospect is requesting to enroll but cannot talk until work. Requesting a call at 5:30 PM PST.

              Duran
$19k debt
Monthly payment is $195 to Navient.




Andy Poon
 949‐438‐5440
Toll Free: (844) 593‐8072
Direct Fax: 714‐203‐6810
Hours of Operation: 8AM – 5PM PST
andy@1file.org
www.1file.org

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